EXHIBIT 5
                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF NEW YORK

                                      Perks v. T.D. Bank

                                    Case No. 18-CV-11176


                     DECLARATION OF BRIAN T. FITZPATRICK

     I. BACKGROUND AND QUALIFICATIONS

     1.       I am a Professor of Law at Vanderbilt University in Nashville, Tennessee. I joined

the Vanderbilt law faculty in 2007, after serving as the John M. Olin Fellow at New York

University School of Law in 2005 and 2006. I graduated from the University of Notre Dame in

1997 and Harvard Law School in 2000. After law school, I served as a law clerk to The Honorable

Diarmuid O’Scannlain on the United States Court of Appeals for the Ninth Circuit and to The

Honorable Antonin Scalia on the United States Supreme Court. I also practiced law for several

years in Washington, D.C., at Sidley Austin LLP. My C.V. is attached as Exhibit 1.

     2.       My teaching and research at Vanderbilt have focused on class action litigation. I

teach the Civil Procedure, Federal Courts, and Complex Litigation courses. In addition, I have

published a number of articles on class action litigation in such journals as the University of

Pennsylvania Law Review, the Journal of Empirical Legal Studies, the Vanderbilt Law Review,

the NYU Journal of Law & Business, the Fordham Law Review, and the University of Arizona

Law Review. My work has been cited by numerous courts, scholars, and media outlets such as

the New York Times, USA Today, and Wall Street Journal. I have also been invited to speak at

symposia and other events about class action litigation, such as the ABA National Institutes on

Class Actions in 2011, 2015, 2016, 2017, and 2019; the Annual Conference of the ABA’s

Litigation Section in 2021; and the ABA Annual Meeting in 2012. Since 2010, I have also served



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on the Executive Committee of the Litigation Practice Group of the Federalist Society for Law &

Public Policy Studies. In 2015, I was elected to the membership of the American Law Institute.

     3.        In December 2010, I published an article in the Journal of Empirical Legal Studies

entitled An Empirical Study of Class Action Settlements and Their Fee Awards, 7 J. Empirical L.

Stud. 811 (2010) (hereinafter “Empirical Study”). This article is still what I believe to be the most

comprehensive examination of federal class action settlements and attorneys’ fees that has ever

been published. Unlike other studies of class actions, which have been confined to one subject

matter or have been based on samples of cases that were not intended to be representative of the

whole (such as settlements approved in published opinions), my study attempted to examine every

class action settlement approved by a federal court over a two-year period (2006-2007). See id. at

812-13. As such, not only is my study an unbiased sample of settlements, but the number of

settlements included in my study is also several times the number of settlements per year that has

been identified in any other empirical study of class action settlements: over this two-year period,

I found 688 settlements, including 109 from the Second Circuit alone. See id. at 817. I presented

the findings of my study at the Conference on Empirical Legal Studies at the University of

Southern California School of Law in 2009, the Meeting of the Midwestern Law and Economics

Association at the University of Notre Dame in 2009, and before the faculties of many law schools

in 2009 and 2010. Since then, this study has been relied upon regularly by courts, scholars, and

testifying experts.1 I have attached this study as Exhibit 2 and will draw upon it in this declaration.



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  See, e.g., Silverman v. Motorola Solutions, Inc., 739 F.3d 956, 958 (7th Cir. 2013) (relying on
article to assess fees); Kuhr v. Mayo Clinic Jacksonville, No. 3:19-cv-453-MMH-MCR, 2021 WL
1207878, at *12-13 (M.D. Fla. Mar. 30, 2021) (same); In re LIBOR-Based Fin. Instruments
Antitrust Litig., No. 11 MD 2262 (NRB), 2020 WL 6891417, at *3 (S.D.N.Y. Nov. 24, 2020)
(same); Shah v. Zimmer Biomet Holdings, Inc., No. 3:16-cv-815-PPS-MGG, 2020 WL 5627171,



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at *10 (N.D. Ind. Sept. 18, 2020) (same); In re GSE Bonds Antitrust Litig., No. 19-cv-1704 (JSR),
2020 WL 3250593, at *5 (S.D.N.Y. June 16, 2020) (same); In re Wells Fargo & Co. S’holder
Derivative Litig., No. 16-cv-05541-JST, 2020 WL 1786159, at *11 (N.D. Cal. Apr. 7, 2020)
(same); Arkansas Teacher Ret. Sys. v. State St. Bank & Trust Co., No. CV 11-10230-MLW, 2020
WL 949885, 2020 WL 949885, at *52 (D. Mass. Feb. 27, 2020), appeal dismissed sub
nom. Arkansas Tchr. Ret. Sys. v. State St. Corp., No. 20-1365, 2020 WL 5793216 (1st Cir. Sept.
3, 2020) (same); In re Equifax Inc. Customer Data Sec. Breach Litig., No. 1:17-MD-2800-TWT,
2020 WL 256132, at *34 (N.D. Ga. Jan. 13, 2020) (same); In re Transpacific Passenger Air
Transp. Antitrust Litig., No. 3:07-cv-05634-CRB, 2019 WL 6327363, at *4-5 (N.D. Cal. Nov. 26,
2019) (same); Espinal v. Victor's Cafe 52nd St., Inc., No. 16-CV-8057 (VEC), 2019 WL 5425475,
at *2 (S.D.N.Y. Oct. 23, 2019) (same); James v. China Grill Mgmt., Inc., No. 18 Civ. 455 (LGS),
2019 WL 1915298, at *2 (S.D.N.Y. Apr. 30, 2019) (same); Grice v. Pepsi Beverages Co., 363 F.
Supp. 3d 401, 407 (S.D.N.Y. 2019) (same); Alaska Elec. Pension Fund v. Bank of Am. Corp., No.
14-CV-7126 (JMF), 2018 WL 6250657, at *2 (S.D.N.Y. Nov. 29, 2018) (same); Rodman v.
Safeway Inc., No. 11-cv-03003-JST, 2018 WL 4030558, at *5 (N.D. Cal. Aug. 23, 2018) (same);
Little v. Washington Metro. Area Transit Auth., 313 F. Supp. 3d 27, 38 (D.D.C. 2018) (same);
Hillson v. Kelly Servs. Inc., No. 2:15-cv-10803, 2017 WL 3446596, at *4 (E.D. Mich. Aug. 11,
2017) (same); Good v. W. Virginia-Am. Water Co., No. 14-1374, 2017 WL 2884535, at *23, *27
(S.D.W. Va. July 6, 2017) (same); McGreevy v. Life Alert Emergency Response, Inc., 258 F. Supp.
3d 380, 385 (S.D.N.Y. 2017) (same); Brown v. Rita’s Water Ice Franchise Co. LLC, No. 15–3509,
2017 WL 1021025, at *9 (E.D. Pa. Mar. 16, 2017) (same); In re Credit Default Swaps Antitrust
Litig., No. 13MD2476 (DLC), 2016 WL 2731524, at *17 (S.D.N.Y. Apr. 26, 2016) (same);
Gehrich v. Chase Bank USA, N.A., 316 F.R.D. 215, 236 (N.D. Ill. 2016); Ramah Navajo Chapter
v. Jewell, 167 F. Supp 3d 1217, 1246 (D.N.M. 2016); In re: Cathode Ray Tube (Crt) Antitrust
Litig., No. 3:07-cv-5944 JST, 2016 WL 721680, at *42 (N.D. Cal. Jan. 28, 2016) (same); In re
Pool Products Distribution Mkt. Antitrust Litig., No. MDL 2328, 2015 WL 4528880, at *19-20
(E.D. La. July 27, 2015) (same); Craftwood Lumber Co. v. Interline Brands, Inc., No. 11–cv–4462,
2015 WL 2147679, at *2-4 (N.D. Ill. May 6, 2015) (same); Craftwood Lumber Co. v. Interline
Brands, Inc., No. 11–cv–4462, 2015 WL 1399367, at *3-5 (N.D. Ill. Mar. 23, 2015) (same); In re
Capital One Tel. Consumer Prot. Act Litig., 80 F. Supp. 3d 781, 797 (N.D. Ill. 2015) (same); In re
Neurontin Marketing and Sales Practices Litig., 58 F.Supp.3d 167, 172 (D. Mass. 2014) (same);
Tennille v. W. Union Co., No. 09–cv–00938–JLK–KMT, 2014 WL 5394624, at *4 (D. Colo. Oct.
15, 2014) (same); In re Colgate-Palmolive Co. ERISA Litig., 36 F. Supp. 3d 344, 349-51 (S.D.N.Y.
2014) (same); In re Payment Card Interchange Fee & Merchant Discount Antitrust Litig., 991 F.
Supp. 2d 437, 444-46 & n.8 (E.D.N.Y. 2014) (same); In re Fed. Nat’l Mortg. Association Sec.,
Derivative, and “ERISA” Litig., 4 F. Supp. 3d 94, 111-12 (D.D.C. 2013) (same); In re Vioxx Prod.
Liab. Litig., No. 11–1546, 2013 WL 5295707, at *3-4 (E.D. La. Sep. 18, 2013) (same); In re Black



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     4.        In addition to my empirical works, I have also published many law-and-economics

papers on the incentives of attorneys and others in class action litigation. See, e.g., Brian T.

Fitzpatrick, A Fiduciary Judge’s Guide to Awarding Fees in Class Actions, 89 Fordham L. Rev.

1151 (2021) (hereinafter “A Fiduciary Judge”); Brian T. Fitzpatrick, Do Class Action Lawyers

Make Too Little, 158 U. Pa. L. Rev. 2043 (2010) (hereinafter “Class Action Lawyers”); Brian T.

Fitzpatrick, The End of Objector Blackmail?, 62 Vand. L. Rev. 1623 (2009). Much of this work

was discussed in a book published recently by the University of Chicago Press entitled THE

CONSERVATIVE CASE FOR CLASS ACTIONS (2019). The thesis of the book is that the so-called

“private attorney general” is superior to the public attorney general in the enforcement of the rules

that free markets need in order to operate effectively and that courts should provide proper

incentives to encourage such private attorney general behavior. I will also draw upon this work in

this declaration.

     5.        From time to time, I serve as an expert witness on attorneys’ fees in class action

litigation. Most relevant here, since 2010, I have served as an expert in dozens of class action

cases challenging overdraft fees consolidated in MDL 2036. See, e.g., In Re: Checking Account

Overdraft Litigation (MDL No. 2036) (S.D. Fla.) (twenty-one different settlements). In addition

to my academic work, I will draw on this experience in this declaration.




Farmers Discrimination Litig., 953 F. Supp. 2d 82, 98-99 (D.D.C. 2013) (same); In re Se. Milk
Antitrust Litig., No. 2:07–CV 208, 2013 WL 2155387, at *2 (E.D. Tenn., May 17, 2013) (same);
In re Heartland Payment Sys., Inc. Customer Data Sec. Breach Litig., 851 F. Supp. 2d 1040, 1081
(S.D. Tex. 2012) (same); Pavlik v. FDIC, No. 10 C 816, 2011 WL 5184445, at *4 (N.D. Ill. Nov.
1, 2011) (same); In re Black Farmers Discrimination Litig., 856 F. Supp. 2d 1, 40 (D.D.C. 2011)
(same); In re AT & T Mobility Wireless Data Servs. Sales Tax Litig., 792 F. Supp. 2d 1028, 1033
(N.D. Ill. 2011) (same); In re MetLife Demutualization Litig., 689 F. Supp. 2d 297, 359 (E.D.N.Y.
2010) (same).



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     6.        I have been asked by class counsel to opine on whether a fee award of 25% of the

value of the settlement in this case would be reasonable in light of the empirical studies and

research on economic incentives in class action litigation. In order to formulate my opinion, I

reviewed a number of documents provided to me by class counsel, and I have attached a list of

these documents in Exhibit 3. As I explain, based on the empirical studies and research on

economic incentives, I believe a fee award of at least 25% of the value of the settlement would be

reasonable.

     II. CASE BACKGROUND

     7.        This settlement arises out of litigation against TD Bank, N.A., for breach of contract

over its insufficient funds fee practices. The complaint was filed in May 2018. Since then, the

parties have undertaken motions practice and significant discovery, including work with experts.

The parties have reached a class-wide settlement and are now asking the court to certify a

settlement class and preliminarily approve the settlement.

     8.        The proposed settlement class includes, with minor exceptions, “all current and

former holders of TD Bank, N.A., consumer checking Accounts who . . . were assessed at least

one Retry NSF Fee” from various dates depending on the state where the account was opened. See

Settlement Agreement ¶¶ 24, 55. The class will release the defendant from any and all claims “that

were or could have been alleged . . . relating in any way to the assessment of Retry NSF Fees . . .

.” See id. at ¶ 88. In exchange, the class will receive $20,750,000 in cash, another $20,750,000 in

debt forgiveness (for those class members whose accounts were closed with negative balances),

and up to another $500,000 to administer the settlement. See id. at ¶¶ 28, 58, 61, 64. After

attorneys’ fees and other expenses are deducted, the cash will be distributed pro rata to all class

members in proportion to the number of fees they incurred (minus any refunds of those fees and




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any amounts owing to the defendant); the debt forgiveness will be distributed pro rata. See id. at

¶¶ 83.d.ii, 84. None of the cash or the debt relief can revert back to the defendant; if any payments

are uncashed, they will be redistributed to other class members or awarded to a cy pres recipient.

See id. at ¶ 87.

      9.           As I explain below, it is my opinion that a fee award of at least 25% of the value

of the settlement would be reasonable.

      III. ASSESSMENT OF THE REASONABLENESS OF THE REQUEST FOR
      ATTORNEYS’ FEES

      10.          When a class action reaches settlement or judgment and no fee shifting statute is

triggered and the defendant has not agreed to pay class counsel’s fees, class counsel is paid by the

class members themselves pursuant to the common law of unjust enrichment. This is sometimes

called the “common fund” or “common benefit” doctrine. It requires the court to decide how much

of their class action proceeds it is fair to ask class members to pay to class counsel.

      11.          At one time, courts that awarded fees in common fund class action cases did so

using the familiar “lodestar” approach. See Fitzpatrick, Class Action Lawyers, 158 U. Pa. L. Rev.

at 2051. Under this approach, courts awarded class counsel a fee equal to the number of hours

they worked on the case (to the extent the hours were reasonable), multiplied by a reasonable

hourly rate as well as by a discretionary multiplier that courts often based on the risk of non-

recovery and other factors. See id. Over time, however, the lodestar approach fell out of favor in

common fund class actions. It did so largely for two reasons. First, courts came to dislike the

lodestar method because it was difficult to calculate the lodestar; courts had to review voluminous

time records and the like. Second—and more importantly—courts came to dislike the lodestar

method because it did not align the interests of class counsel with the interests of the class; class

counsel’s recovery did not depend on how much the class recovered, but, rather, on how many



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hours could be spent on the case. See id. at 2051-52. According to my empirical study, the lodestar

method is now used to award fees in only a small percentage of class action cases, usually those

involving fee-shifting statutes or those where the relief is predominantly injunctive in nature (and

the value of the injunction cannot be reliably calculated). See Fitzpatrick, Empirical Study, 7 J.

Empirical L. Stud. at 832 (finding the lodestar method used in only 12% of settlements). The

other large-scale academic studies of class action fees, authored over time by Geoff Miller and the

late Ted Eisenberg, agree with my findings. See Theodore Eisenberg & Geoffrey P. Miller,

Attorneys’ Fees and Expenses in Class Action Settlements: 1993-2008, 7 J. Empirical L. Stud. 248,

267 (2010) (“Eisenberg-Miller 2010”) (finding lodestar method used only 13.6% of the time

before 2002 and less than 10% of the time thereafter); Theodore Eisenberg et al., Attorneys’ Fees

in Class Action Settlements: 2009-2013, 92 N.Y.U. L. Rev. 937, 945 (2017) (“Eisenberg-Miller

2017”) (finding lodestar method used less than 7% of the time since 2009).

     12.       The more common method of calculating attorneys’ fees today is known as the

“percentage” method. Under this approach, courts select a percentage of the settlement that they

believe is fair to class counsel, multiply the settlement by that percentage, and then award class

counsel the resulting product. The percentage approach has become the preferred method for

awarding fees to class counsel in common fund cases precisely because it corrects the deficiencies

of the lodestar method: it is less cumbersome to calculate, and, more importantly, it aligns the

interests of class counsel with the interests of the class because the more the class recovers, the

more class counsel recovers. See Fitzpatrick, Class Action Lawyers, 158 U. Pa. L. Rev. at 2052.

This is why private parties—including sophisticated corporations—that hire lawyers on

contingency almost always use the percentage method over the lodestar method. See, e.g., David




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L. Schwartz, The Rise of Contingent Fee Representation in Patent Litigation, 64 Ala. L. Rev. 335,

360 (2012); Herbert M. Kritzer, RISKS, REPUTATIONS, AND REWARDS 39-40 (1998).

     13.       In the Second Circuit, courts have discretion to use either the lodestar method or

the percentage method in awarding attorneys’ fees in common fund class actions. See Goldberger

v. Integrated Resources, Inc., 209 F.3d 43, 45 (2d Cir. 2000) (“We hold that either the lodestar or

percentage of the recovery methods may properly be used to calculate fees in common fund

cases.”). But “[t]he trend in this Circuit is toward the percentage method . . . .” Wal-Mart Stores,

Inc. v. Visa U.S.A., Inc., 396 F.3d 96, 121 (2d Cir. 2005). In light of the well-recognized

disadvantages of the lodestar method and the well-recognized advantages of the percentage

method, courts most often use the percentage method in common fund cases whenever the value

of the settlement or judgment can be reliably calculated; courts most often use the lodestar method

only where the value cannot be reliably calculated and the percentage method is therefore not

feasible. I agree with this approach, as do leading class action scholars. See Principles of the Law

of Aggregate Litigation § 3.13 (2010) (cmt. b) (“Although many courts in common-fund cases

permit use of either a percentage-of-the-fund approach or a lodestar . . . most courts and

commentators now believe that the percentage method is superior.”). Because this settlement

consists of cash and debt relief that can be easily valued, it is my opinion that the percentage

method can be used here, and both jurisprudence and expert opinion, including my opinion,

support that view. I will therefore proceed under that method.

     14.       Under the percentage method, courts must 1) calculate the value of the benefits to

the class in the settlement and then 2) select a percentage of that value to award to class counsel.

When calculating the value of the benefits, in my opinion, courts should include any cash benefits

to class members, cash the defendant must pay to third parties, non-cash benefits that can be




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reliably valued, attorneys’ fees and expenses, and administrative costs paid by the defendant. See,

e.g., Fleisher v. Phoenix Life Ins. Co., No. 11-CV-8405 (CM), 2015 WL 10847814, at *15

(S.D.N.Y. Sept. 9, 2015); Moukengeshcaie v. Eltman, Eltman & Cooper, P.C., No.

14CV7539MKBCLP, 2020 WL 5995978, at *2 (E.D.N.Y. Apr. 21, 2020), report and

recommendation adopted sub nom., 2020 WL 5995650 (E.D.N.Y. Oct. 8, 2020).

      15.       Although some of these things do not go directly to the class as compensation, they

facilitate compensation to the class, savings to the class, or serve to deter defendants from future

misconduct by making defendants pay more when they cause harm. As I explain in more detail

below, class counsel should be rewarded for generating both compensation and deterrence. This

is not only my opinion, but the opinion of the leading class action scholars. See Principles of the

Law of Aggregate Litigation § 3.13(b) (2010) (“[A] percentage-of-the-fund approach should be

the method utilized in most common-fund cases, with the percentage being based on both the

monetary and the nonmonetary value of the judgment or settlement.”). When selecting the

percentage, courts usually examine a number of factors. See Fitzpatrick, Empirical Study, 7 J.

Empirical L. Stud. at 832. In the Second Circuit, courts consider the following factors: “(1) the

time and labor expended by counsel; (2) the magnitude and complexities of the litigation; (3) the

risk of the litigation . . . ; (4) the quality of representation; (5) the requested fee in relation to the

settlement; and (6) public policy considerations.” Goldberger, 209 F.3d 43, 50 (2d Cir. 2000). In

my opinion, the fee requested here is reasonable because it is supported by all six of these factors.

      16.       Let me begin with the valuation of the settlement. The cash portion of the

settlement is easily valued. The defendant has agreed to pay the class members $20.75 million in

cash as well as to pay up to $500,000 in settlement administration costs, for a total of $21.25

million, and none of that will under any circumstance revert to the defendant. The defendant has




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also agreed to forgive another $20.75 million in debt that class members owe. Debt forgiveness

is economically equivalent to cash: every dollar you don’t have to repay is another dollar you have

to spend on other things. It is for this reason that I included debt relief in my calculations of the

value of class action settlements in my empirical study. See Fitzpatrick, Empirical Study, 7 J.

Empirical L. Stud. at 824 (note to tbl. 3).

     17.       Further, when bank accounts are closed with negative balances, banks like the

defendant have the option to report the consumer to a screening database such as ChexSystems.

This reporting can be devastating to consumers and effectively blacklists them from other financial

institutions, thereby preventing them from opening accounts at new institutions and ejecting them

from the banking system. See, e.g., Rebecca Borne et al., Broken Banking: How Overdraft Fees

Harm Consumers and Discourage Responsible Bank Products, Center for Responsible Lending

14 (May 2016), https://bit.ly/2QBr8JV (“These are essentially blacklists, where the consumer’s

name remains for five years . . . .”); Empowering Low Income and Economically Vulnerable

Consumers, Consumer Financial Protection Bureau 26-27 (Nov. 2013), https://bit.ly/3noikDa (“A

negative history with a specialized consumer reporting agency . . . may prevent some consumers

from opening an account for an extended period of time, possibly as long as five years.”); Dennis

Campbell et al., Bouncing Out of the Banking System: An Empirical Analysis of Involuntary Bank

Account Closures 1-2 (June 6, 2008), https://bit.ly/3nu6sjk (“evidence of prior financial

mismanagement at another institution either leads banks to deny customers checking accounts, or

only to offer them high cost or limited service accounts”). What happens to people who cannot

open accounts at traditional financial institutions? Several of my colleagues at Vanderbilt have

studied what happens and have found that these consumers are forced to rely on payday lenders

and other predatory alternatives. See, e.g., GANESH SITARAMAN & ANNE ALSTOTT, THE PUBLIC




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(HARVARD UNIVERSITY PRESS 2019) (noting a “variety of reasons for not having accounts,”

including “banks often screen customers through a service called ChexSystems”). Some 7% of

American adults are now “unbanked” like this, see i.d. at 169, and many of them end up irreparably

harmed by the experience. See, e.g., Tyler Desmond & Charles Sprenger, Estimating the Cost of

Being      Unbanked,     Federal     Reserve      Bank    of    Boston      25    (Spring     2007),

https://www.bostonfed.org/commdev/c&b/2007/spring/article9.pdf (“These expensive loans can

easily balloon out of control, at times becoming more costly than their initial value”); Chris Moon,

The Problems of Being Unbanked, LendingTree (Nov. 28, 2016), https://bit.ly/3xvEEiQ

(explaining that unbanked consumers are also unable to receive direct deposits from an employer).

     18.       In this case, the settlement not only requires the defendant to forgive the debt, but

to update any negative reporting to ChexSystems or credit reporting agencies with respect to class

members who receive debt forgiveness. Thus, not only is the debt relief in this settlement

economically equivalent to receiving new money, but it may also confer meaningful collateral

benefits. It is therefore my opinion that it should be fully included in the total value of this

settlement. See, e.g., In re TD Bank, N.A. Debit Card Overdraft Fee Litig., No. 6:15MN02613

(D.S.C. Jan. 9, 2020) (ECF 233) (including $27 million debt relief in total value of settlement);

Exhibit 4, tbl. 1 (listing six cases marked with note “1” doing the same). Thus, in my opinion, the

total value of this settlement is $42 million.2




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  It is theoretically possible that notice and administration of the settlement will not consume all
of the $500,000 the defendant has agreed to pay towards those ends. If they do not, then the total
value of the settlement will be slightly lower than $42 million, but any difference would be so
slight that the effect on class counsel’s fee percentage would be de minimis (at most—i.e., if notice
and administration ends up costing nothing—class counsel’s fee request could be 25.3%).


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     19.       Let me turn now to the percentage. According to the empirical studies, a 25% fee

request would be a merely average fee request compared to all other class action cases. But it

would be a low-end fee request compared to other bank fee class action cases. For this and other

reasons, it is my opinion that it would be reasonable under the Second Circuit’s factors to award a

percentage at least this high.

     20.       Consider first factor “(6) public policy considerations.” As I explain in my book

THE CONSERVATIVE CASE        FOR   CLASS ACTIONS, class action lawyers perform a critical law

enforcement role in our country—which is why they are often referred to as “private” attorneys

general. In Europe, countries rely much more on the government to police the marketplace. In

America, by contrast, we believe more strongly in self-help and the private sector, including to

police the marketplace. That is, we need private class action lawyers because it is not desirable

for “public” attorneys general to police all wrongdoing. Even if it were desirable, it is simply not

possible: “public” attorneys general have very limited resources.        It is also impossible for

individual litigants to police all wrongdoing: sometimes individual claims are too small to be

viable on their own, and, even when they are viable, individuals do not have the incentive to invest

in one claim the same way a defendant facing many similar claims does; as a result, the playing

field between individual plaintiffs and defendants is often not level. See Fitzpatrick, Class Action

Lawyers, 158 U. Pa. L. Rev. at 2059. Class action lawyers level the playing field and overcome

the enforcement gap that would otherwise exist in our country by aggregating non-viable and

underinvested claims into effective litigation vehicles. See id.

     21.       In this case, class counsel were among the very first to discover the misconduct

alleged here and to take action against it. The government, by contrast, has done nothing. In

addition, the costs and expenses of individual actions, when weighed against the individual




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recoveries potentially obtainable, would have been prohibitive for virtually all of these class

members. Thus, it is only because of class counsel that the defendant will be held accountable at

all for any misdeeds it has committed. And it should be noted that there is a serious chance that

misdeeds have been committed here: I examined the court’s decision on the motion to dismiss and

I agree with the court that the account agreement may well have been breached. In other words,

this is not a frivolous case. To the contrary: the court’s ruling in this matter has spawned a

significant number of actions in state and federal courts against other financial institutions across

the country. In other words, this is an example of our private enforcement system at its best: class

counsel performed a vital public service by discovering misconduct and enabling the victims not

just in this case but across the banking system to hold the wrongdoers accountable.

     22.       But lawyers are rational economic actors like anyone else. They will only bring

lawsuits and optimally invest in them if they are compensated adequately. The fee decisions courts

make at the end of successful class actions are, so to speak, the “fuel” in the engine of the private-

attorney-general “automobile”; these decisions tell lawyers in future cases what they can expect to

receive if they invest in a new case and ultimately win it. Accordingly, in my opinion, courts

should set fee awards such that future lawyers will make the best decisions about what cases to

file and how to resolve them. In my view, this means courts should set fees such that lawyers will

have incentives 1) to bring as many meritorious cases as possible and 2) to litigate those cases in

a way that maximizes the resulting compensation for the class and the deterrence of future

wrongdoing. As I said above, this case has considerable merit. Moreover, there is no doubt the

settlement will generate both considerable compensation and deterrence: every dollar in cash and

debt relief will directly benefit class members and increase the defendant’s cost of engaging in




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misconduct. It is important to incentivize class counsel whenever they generate compensation or

deterrence like this. This factor therefore supports a fee award of at least 25%.

     23.       Consider next factor “(5) the requested fee in relation to the settlement.” A fee

award of 25% would be merely average compared to all class actions. For example, according to

my empirical study, the most common percentages awarded by federal courts nationwide using

the percentage method were 25%, 30%, and 33%, with a mean award of 25.4% and a median

award of 25%. See Fitzpatrick, Empirical Study, 7 J. Empirical L. Stud. at 833-34, 838. The

Eisenberg-Miller studies are in agreement, if not trending even higher. See Eisenberg-Miller 2010,

7 J. Empirical L. Stud.at 260 (finding mean and median of 24% and 25%, respectively); Eisenberg-

Miller 2017, 92 N.Y.U. L. Rev. at 951 (finding mean and median of 27% and 29%, respectively).

The same is true when looking at fee awards in the Second Circuit alone. In the 72 settlements in

my study from the Second Circuit where the percentage method was used, the mean and median

were 23.8% and 24.5%, respectively. See Fitzpatrick, Empirical Study, 7 J. Empirical L. Stud. at

836. Again, the Eisenberg-Miller studies found much the same thing—again, if not trending

higher. See Eisenberg-Miller 2010, 7 J. Empirical L. Stud.at 260 (finding mean and median in the

Second Circuit of 23% and 24%, respectively); Eisenberg-Miller 2017, 92 N.Y.U. L. Rev. at 951

(finding mean and median in the Second Circuit of 28% and 30%, respectively). It is important to

note that both my study and the Eisenberg-Miller studies include in the value of the settlement

both cash and any non-cash relief that was valued by the court. See, e.g., Fitzpatrick, Empirical

Study, 7 J. Empirical L. Stud. at 825 (note to tbl. 4); Eisenberg-Miller 2017, 92 N.Y.U. L. Rev. at

941 n.14. Thus, this data is an apples-to-apples comparison to the settlement here.

     24.       But a fee request of 25% would be lower than average compared to other bank fee

cases. As I noted above, I have served as an expert in many of these cases, and, in November




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2019, I attempted to perform a systematic analysis of the fee awards in every such case I could

find, whether in federal or state court and whether or not I had served as an expert. The effort

resulted in an expert declaration I filed in a case against the defendant here but for a different fee

practice; that declaration is attached as Exhibit 4. As the declaration explains, I found 64

percentage-method overdraft fee awards in state or federal court between August 2010 and

November 2019. The median and mode percentage was 30%, and the average percentage was

30.5%. There were only three out of 64 awards below 25%, and all of those were above 20%. A

25% fee request would therefore be at the very low end of overdraft fee cases.

     25.       Consider next the factors that speak to the results obtained by class counsel in light

of the risks presented by the litigation: “(2) the magnitude and complexities of the litigation; (3)

the risk of the litigation[, and] (4) the quality of representation.” According to estimates by the

parties’ experts, the total value of the settlement is almost half of the total number of illegal fees

that were charged class members if the class’s view of the account agreement prevails. This is

several times better than the typical recovery in the class actions for which we have empirical

studies (i.e., antitrust and securities fraud). See John M. Connor & Robert H. Lande, Not Treble

Damages: Cartel Recoveries are Mostly Less Than Single Damages, 100 Iowa L. Rev. 1997, 2010

(2015) (finding the weighted average of recoveries—the authors’ preferred measure—to be 19%

of single damages for cartel cases between 1990 to 2014); Janeen McIntosh & Svetlana Starykh,

Recent Trends in Securities Class Action Litigation: 2020 Full-Year Review 20 (Jan. 25, 2021),

https://www.nera.com/content/dam/nera/publications/2021/PUB_2020_Full-Year_Trends_

012221.pdf (finding recoveries in securities class actions to vary between 1.6% and 2.5% of

investor losses between 2012 and 2020). Moreover, although I have not done a systematic study

of recovery rates in bank fee cases like the one I did for fee percentages in Exhibit 4, the recovery




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here is at the high end of recoveries in the overdraft cases in which I have served as an expert. For

example, in Table 1, I list the recovery rates in all of the settlements in MDL 2036. Rarely was

the recovery greater as a percentage of damages than obtained here.

              Table 1: Settlements from Overdraft-Fee Litigation in MDL 2036
                            Defendant                   Final      Recovery as
                                                      Approval     % of damages
                         BancorpSouth                 07/15/16         57%
                          Capital One                  5/22/15         35%
                         Synovus Bank                   4/2/15         36%
                          M&T Bank                     3/13/15          5%
                           Comerica                    6/10/14         35%
                         Susquehanna                    4/1/14         40%
                           U.S. Bank                    1/6/14         13%
                           Compass                      8/7/13         16%
                             PNC                        8/5/13        45+%
                             Harris                     8/5/13        65+%
                             M&I                        8/2/13        25+%
                         Great Western                  8/2/13        50+%
                          Commerce                      8/2/13         57%
                          Associated                    8/2/13        50+%
                           TD Bank                     3/18/13         42%
                            Citizens                   3/12/13         42%
                             Chase                    12/19/12         21%
                        Bank of the West              12/18/12         52%
                             Union                     10/4/12         63%
                          Bank of OK                   9/13/12         46%
                        Bank of America               11/22/11        9-45%


     26.       Recovery rates alone do not tell the whole story because not every bank fee case

faces the same risks. But, based on my research and experience, it is my opinion that a recovery

this strong in light of the risks and circumstances of this litigation is unusual. This is one of the

first cases in the entire country challenging the fee practice at issue here and no governmental

entity or consumer protection group had ever brought the practice to light before class counsel did.

This was risky, unproven litigation from the very beginning. And the risks have not abated: not

only would there have been difficulty certifying a nationwide litigation class in this case given the


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variety of state laws governing the causes of action, but the interpretation of the account agreement

that would ultimately prevail here was probably close to a coin flip. In other words, not only is

the recovery of nearly half of maximum potential damages better than most bank fee cases, but it

is better than the expected value of this lawsuit. Thus, it is not difficult to conclude that the

recovery here looks excellent in light of the attendant risks.

     27.       Consider finally the factor “(1) the time and labor expended by counsel.” There are

two ways that courts might consider this factor: qualitatively or quantitatively. The qualitative

approach assesses what class counsel did during the years of litigation; i.e., whether class counsel

have dug deeply enough into a case to know what it is worth as opposed to selling out the class for

a quick fee award. See, e.g., Brown v. Phillips Petroleum Co., 838 F.2d 451, 456 (10th Cir. 1988)

(“[I]n awarding attorneys’ fees in a common fund case, the ‘time and labor involved’ factor need

not be evaluated using the lodestar formulation . . . .”). The quantitative approach is to calculate

class counsel’s lodestar and to “crosscheck” the fee percentage requested against the lodestar to

ensure that the ensuing multiplier is not in some sense “too much.” See, e.g., In re Cendant Corp.

Litig., 264 F.3d 201, 285 (3d Cir. 2001).

     28.       The better approach is to assess this factor qualitatively rather than quantitatively.

I take this view because the lodestar crosscheck creates perverse incentives for class counsel

thereby undermining the public policy considerations discussed above. In particular, the lodestar

crosscheck reintroduces all the bad behaviors of the lodestar method that the percentage method

was designed to correct in the first place: either to be indifferent to the size of the recovery or to

drag cases out to increase the lodestar. Consider the following examples. Suppose a lawyer had

worked on a case for one year and accrued a lodestar of $1 million. If the lawyer believed that a

court would award a fee of 25%, or 2 times his lodestar, whichever was lesser, then he would be




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completely indifferent as between accepting a settlement offer at this point of $8 million or $80

million. Either way he would get only $2 million. Needless to say, the incentive to be indifferent

as to the size of the settlement is not good for compensation or deterrence. Or suppose the lawyer

had been offered a settlement offer of $16 million after one year of work. If the lawyer again

believed the court would not award a fee of 25% unless it was no more than 2 times his lodestar,

the lawyer would have the incentive to delay accepting the settlement until he could generate

another $1 million in lodestar and thereby reap the maximum fee. Dragging cases along for

nothing is not good for class members or the court system.

     29.       For this reason, economic models of rational clients suggest that clients would not

want to use the lodestar crosscheck when they hire lawyers on contingency. See Fitzpatrick, A

Fiduciary Judge, 89 Fordham L. Rev. at 1156-59, 1167. In a recent article, I tried to discern

whether there was any evidence that real clients in the marketplace ever use the lodestar crosscheck

when they hire lawyers on contingency.          I could find no such evidence, whether among

unsophisticated clients who hire lawyers on contingency for things like personal injury cases or

among sophisticated clients who lawyers on contingency for things like patent cases. See id. at

1159-63. Real clients follow the economic models: they do not want the lodestar crosscheck

because it creates bad incentives for their lawyers. This is important because judges in class

actions often say they act as fiduciaries for absent class members. See 4 William B. Rubenstein,

Newberg on Class Actions § 13:40 (5th ed. 2020) (“[T]he law requires the judge to act as a

fiduciary [of absent class members.]”). In my view, this means courts should not saddle absent

class members with a fee method like the lodestar crosscheck that they would never choose for

themselves. See also Goldberger, 209 F.3d at 53 (“[A] fee award should be assessed based on . .

. ‘a jealous regard to the rights of those who are interested in the fund.’”). Thankfully, most courts




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across the country do not perform the crosscheck. See Fitzpatrick, Empirical Study, 7 J. Empirical

L. Stud. at 833 (finding that only 49% of courts consider lodestar when awarding fees with the

percentage method); Eisenberg-Miller 2017, 92 N.Y.U. L. Rev. at 945 (finding percent method

with lodestar crosscheck used 38% of the time versus 54% for percent method without lodestar

crosscheck). For example, in none of the overdraft fee settlements in MDL 2036 did the court

perform the crosscheck. In my opinion, the court here should not do it either.

      30.       Instead, the court should assess this factor qualitatively. In my opinion, there is

little doubt that class counsel dug into this case deeply enough to know what it is worth. This

litigation has transpired almost as long as the typical class action does before it reaches settlement.

See Fitzpatrick, Empirical Study, 7 J. Empirical L. Stud. at 820 (finding the average and median

times for class actions to reach final settlement approval was around three years). The discovery

conducted in this litigation has enabled class counsel’s expert to calculate precisely what the

class’s damages would be if the class’s view of the account agreement prevails. The probability

of prevailing at this point is a legal question that will not benefit from further litigation. Given

that the recovery here is better, as I noted, than the expected value of the litigation, it is in no one’s

interest to continue litigating. In my opinion, this should be the end of the matter.

      31.       It is true that the Second Circuit “encourage[s]” the lodestar crosscheck. See, e.g.,

Goldberger, 209 F.3d at 50. “Encourage” does not mean require, however, and there are plenty

of courts in this Circuit that do not do the crosscheck. See, e.g., Thompson v. Metro. Life Ins. Co.,

216 F.R.D. 55, 71 (S.D.N.Y. 2003); Teachers’ Ret. Sys. of Louisiana v. A.C.L.N., Ltd., No. 01-

CV-11814(MP), 2004 WL 1087261, at *7 (S.D.N.Y. May 14, 2004); Dorn v. Eddington Sec., Inc.,

No. 08 CIV. 10271 LTS, 2011 WL 9380874, at *6-7 (S.D.N.Y. Sept. 21, 2011); Palacio v.

E*TRADE Fin. Corp., No. 10 CIV. 4030 LAP DCF, 2012 WL 2384419, at *6-7 (S.D.N.Y. June




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22, 2012); In re Am. Int’l Grp., Inc. Sec. Litig., 293 F.R.D. 459, 466 (S.D.N.Y. 2013); Macedonia

Church v. Lancaster Hotel, LP, No. 05-0153 TLM, 2011 WL 2360138, at *13-14 (D. Conn. June

9, 2011).

     32.       But in any event, there is no indication that class counsel’s lodestar would be

outside the bounds of previous cases. See, e.g., Vizcaino v. Microsoft Corp., 290 F.3d 1043, 1051

n.6 (9th Cir. 2002) (noting multipliers of up to 19.6); Steiner v. American Broadcasting Co., 248

Fed. Appx. 780, 783 (9th Cir. 2007) (affirming fee award where the lodestar multiplier was 6.85);

Stop & Shop Supermarket Co. v. SmithKline Beecham Corp., No. Civ.A. 03–4578, 2005 WL

1213926, at *18 (E.D. Pa. May 19, 2005) (awarding fee with 15.6 multiplier); In re Doral

Financial Corp. Securities Litigation, No. 05-cv-04014-RO (S.D.N.Y. Jul. 17, 2007) (ECF 65)

(same with 10.26 multiplier); Beckman v. KeyBank, N.A., 293 F.R.D. 467, 481 (S.D.N.Y.

2013) (“Courts regularly award lodestar multipliers of up to eight times the lodestar, and in some

cases, even higher multipliers.”); New England Carpenters Health Benefits Fund v. First

Databank, Inc., No. 05-11148-PBS, 2009 WL 2408560, at *2 (D. Mass. Aug. 3, 2009) (awarding

fee with 8.3 multiplier); Yuzary v. HSBC Bank USA, N.A., No. 12 CIV. 3693 PGG, 2013 WL

5492998, at *11 (S.D.N.Y. Oct. 2, 2013) (same with 7.6 multiplier); Hainey v. Parrott, No. 1:02-

CV-733, 2007 WL 3308027, at *1 (S.D. Ohio Nov. 6, 2007) (same with 7.47 multiplier); In re

Rite Aid Corp. Secs. Litig., 362 F. Supp 2d 587, 589 (E.D. Pa. 2005) (same with 6.96 multiplier);

In re Cardinal Health Inc. Sec. Litig., 528 F. Supp. 2d 752, 768 (S.D. Ohio 2007) (same with 6

multiplier); In re RJR Nabisco, Inc. Secs. Litig., 88 Civ. 7905 (MBM), 1992 WL 210138, at *5

(S.D.N.Y. Aug. 24, 1992) (same with 6 multiplier).

     33.       For all these reasons, it is my opinion that a fee percentage of at least 25% of the

value of the settlement would be reasonable in this case.




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     34.       My compensation for this declaration was $950 per hour and in no way dependent

on the outcome of class counsel’s fee petition.




                                        Nashville, TN

                                        May 17, 2021




                                        Brian T. Fitzpatrick




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EXHIBIT 1
                              BRIAN T. FITZPATRICK
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                              brian.fitzpatrick@law.vanderbilt.edu


ACADEMIC APPOINTMENTS

     VANDERBILT UNIVERSITY LAW SCHOOL, Milton R. Underwood Chair in Free
     Enterprise, 2020 to present
         § Professor of Law, 2012 to present
         § FedEx Research Professor, 2014-2015; Associate Professor, 2010-2012; Assistant
             Professor, 2007-2010
         § Classes: Civil Procedure, Complex Litigation, Federal Courts, Comparative Class Actions
         § Hall-Hartman Outstanding Professor Award, 2008-2009
         § Vanderbilt’s Association of American Law Schools Teacher of the Year, 2009

     HARVARD LAW SCHOOL, Visiting Professor, Fall 2018
       § Classes: Civil Procedure, Litigation Finance

     FORDHAM LAW SCHOOL, Visiting Professor, Fall 2010
       § Classes: Civil Procedure

EDUCATION

     HARVARD LAW SCHOOL, J.D., magna cum laude, 2000
       § Fay Diploma (for graduating first in the class)
       § Sears Prize, 1999 (for highest grades in the second year)
       § Harvard Law Review, Articles Committee, 1999-2000; Editor, 1998-1999
       § Harvard Journal of Law & Public Policy, Senior Editor, 1999-2000; Editor, 1998-1999
       § Research Assistant, David Shapiro, 1999; Steven Shavell, 1999

     UNIVERSITY OF NOTRE DAME, B.S., Chemical Engineering, summa cum laude, 1997
       § First runner-up to Valedictorian (GPA: 3.97/4.0)
       § Steiner Prize, 1997 (for overall achievement in the College of Engineering)

CLERKSHIPS

     HON. ANTONIN SCALIA, Supreme Court of the United States, 2001-2002

     HON. DIARMUID O’SCANNLAIN, U.S. Court of Appeals for the Ninth Circuit, 2000-2001


EXPERIENCE

     NEW YORK UNIVERSITY SCHOOL OF LAW, Feb. 2006 to June 2007
     John M. Olin Fellow



                                               1
     HON. JOHN CORNYN, United States Senate, July 2005 to Jan. 2006
     Special Counsel for Supreme Court Nominations

     SIDLEY AUSTIN LLP, Washington, DC, 2002 to 2005
     Litigation Associate


BOOKS

     THE CAMBRIDGE HANDBOOK OF CLASS ACTIONS: AN INTERNATIONAL SURVEY (Cambridge
     University Press, forthcoming 2021) (ed., with Randall Thomas)

     THE CONSERVATIVE CASE FOR CLASS ACTIONS (University of Chicago Press 2019)


ACADEMIC ARTICLES

     Objector Blackmail Update: What Have the 2018 Amendments Done?, 89 FORD. L. REV. 437
     (2020)

     Why Class Actions are Something both Liberals and Conservatives Can Love, 73 VAND. L. REV.
     1147 (2020)

     Deregulation and Private Enforcement, 24 LEWIS & CLARK L. REV. 685 (2020)

     The Indian Securities Fraud Class Action: Is Class Arbitration the Answer?, 40 NW. J. INT’L L. &
     BUS. 203 (2020) (with Randall Thomas)

     Can the Class Action be Made Business Friendly?, 24 N.Z. BUS. L. & Q. 169 (2018)

     Can and Should the New Third-Party Litigation Financing Come to Class Actions?, 19
     THEORETICAL INQUIRIES IN LAW 109 (2018)

     Scalia in the Casebooks, 84 U. CHI. L. REV. 2231 (2017)

     The Ideological Consequences of Judicial Selection, 70 VAND. L. REV. 1729 (2017)

     Judicial Selection and Ideology, 42 OKLAHOMA CITY UNIV. L. REV. 53 (2017)

     Justice Scalia and Class Actions: A Loving Critique, 92 NOTRE DAME L. REV. 1977 (2017)

     A Tribute to Justice Scalia: Why Bad Cases Make Bad Methodology, 69 VAND. L. REV. 991 (2016)

     The Hidden Question in Fisher, 10 NYU J. L. & LIBERTY 168 (2016)

     An Empirical Look at Compensation in Consumer Class Actions, 11 NYU J. L. & BUS. 767 (2015)
     (with Robert Gilbert)

     The End of Class Actions?, 57 ARIZ. L. REV. 161 (2015)



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     The Constitutionality of Federal Jurisdiction-Stripping Legislation and the History of State
     Judicial Selection and Tenure, 98 VA. L. REV. 839 (2012)

     Twombly and Iqbal Reconsidered, 87 NOTRE DAME L. REV. 1621 (2012)

     An Empirical Study of Class Action Settlements and their Fee Awards, 7 J. EMPIRICAL L. STUD.
     811 (2010) (selected for the 2009 Conference on Empirical Legal Studies)

     Do Class Action Lawyers Make Too Little?, 158 U. PA. L. REV. 2043 (2010)

     Originalism and Summary Judgment, 71 OHIO ST. L.J. 919 (2010)

     The End of Objector Blackmail?, 62 VAND. L. REV. 1623 (2009) (selected for the 2009 Stanford-
     Yale Junior Faculty Forum)

     The Politics of Merit Selection, 74 MISSOURI L. REV. 675 (2009)

     Errors, Omissions, and the Tennessee Plan, 39 U. MEMPHIS L. REV. 85 (2008)

     Election by Appointment: The Tennessee Plan Reconsidered, 75 TENN. L. REV. 473 (2008)

     Can Michigan Universities Use Proxies for Race After the Ban on Racial Preferences?, 13 MICH.
     J. RACE & LAW 277 (2007)


BOOK CHAPTERS

     The Indian Securities Fraud Class Action: Is Class Arbitration the Answer?, in THE CAMBRIDGE
     HANDBOOK OF CLASS ACTIONS: AN INTERNATIONAL SURVEY (ed., with Randall Thomas,
     Cambridge University Press, forthcoming 2021) (with Randall Thomas)

     Do Class Actions Deter Wrongdoing? in THE CLASS ACTION EFFECT (Catherine Piché, ed.,
     Éditions Yvon Blais, Montreal, 2018)

     Judicial Selection in Illinois in AN ILLINOIS CONSTITUTION FOR THE TWENTY-FIRST CENTURY
     (Joseph E. Tabor, ed., Illinois Policy Institute, 2017)

     Civil Procedure in the Roberts Court in BUSINESS AND THE ROBERTS COURT (Jonathan Adler, ed.,
     Oxford University Press, 2016)

     Is the Future of Affirmative Action Race Neutral? in A NATION OF WIDENING OPPORTUNITIES:
     THE CIVIL RIGHTS ACT AT 50 (Ellen Katz & Samuel Bagenstos, eds., Michigan University Press,
     2016)


ACADEMIC PRESENTATIONS

     A Fiduciary Judge’s Guide to Awarding Fees in Class Actions, The Judicial Role in Professional
     Regulation, Stein Colloquium, Fordham Law School, New York, NY (Oct. 9, 2020)



                                                  3
Objector Blackmail Update: What Have the 2018 Amendments Done?, Institute for Law and
Economic Policy, Fordham Law School, New York, NY (Feb. 28, 2020)

Keynote Debate: The Conservative Case for Class Actions, Miami Law Class Action & Complex
Litigation Forum, University of Miami School of Law, Miami, FL (Jan. 24, 2020)

The Future of Class Actions, National Consumer Law Center Class Action Symposium, Boston,
MA (Nov. 16, 2019) (panelist)

The Conservative Case for Class Actions, Center for Civil Justice, NYU Law School, New York,
NY (Nov.11, 2019)

Deregulation and Private Enforcement, Class Actions, Mass Torts, and MDLs: The Next 50 Years,
Pound Institute Academic Symposium, Lewis & Clark Law School, Portland, OR (Nov. 2, 2019)

Class Actions and Accountability in Finance, Investors and the Rule of Law Conference, Institute
for Investor Protection, Loyola University Chicago Law School, Chicago, IL (Oct. 25, 2019)
(panelist)

Incentivizing Lawyers as Teams, University of Texas at Austin Law School, Austin, TX (Oct. 22,
2019)

“Dueling Pianos”: A Debate on the Continuing Need for Class Actions, Twenty Third Annual
National Institute on Class Actions, American Bar Association, Nashville, TN (Oct. 18, 2019)
(panelist)

A Debate on the Utility of Class Actions, Contemporary Issues in Complex Litigation Conference,
Northwestern Law School, Chicago, IL (Oct.16, 2019) (panelist)

Litigation Funding, Forty Seventh Annual Meeting, Intellectual Property Owners Association,
Washington, DC (Sep. 26, 2019) (panelist)

The Indian Securities Fraud Class Action: Is Class Arbitration the Answer?, International Class
Actions Conference, Vanderbilt Law School, Nashville, TN (Aug. 24, 2019)

A New Source of Class Action Data, Corporate Accountability Conference, Institute for Law and
Economic Policy, San Juan, Puerto Rico (April 12, 2019)

The Indian Securities Fraud Class Action: Is Class Arbitration the Answer?, Ninth Annual
Emerging Markets Finance Conference, Mumbai, India (Dec. 14, 2018)

MDL: Uniform Rules v. Best Practices, Miami Law Class Action & Complex Litigation Forum,
University of Miami Law School, Miami, FL (Dec. 7, 2018) (panelist)

Third Party Finance of Attorneys in Traditional and Complex Litigation, George Washington Law
School, Washington, D.C. (Nov. 2, 2018) (panelist)

MDL at 50 - The 50th Anniversary of Multidistrict Litigation, New York University Law School,
New York, New York (Oct. 10, 2018) (panelist)



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The Discovery Tax, Law & Economics Seminar, Harvard Law School, Cambridge, Massachusetts
(Sep. 11, 2018)

Empirical Research on Class Actions, Civil Justice Research Initiative, University of California at
Berkeley, Berkeley, California (Apr. 9, 2018)

A Political Future for Class Actions in the United States?, The Future of Class Actions
Symposium, University of Auckland Law School, Auckland, New Zealand (Mar. 15, 2018)

The Indian Class Actions: How Effective Will They Be?, Eighth Annual Emerging Markets Finance
Conference, Mumbai, India (Dec. 19, 2017)

Hot Topics in Class Action and MDL Litigation, University of Miami School of Law, Miami,
Florida (Dec. 8, 2017) (panelist)

Critical Issues in Complex Litigation, Contemporary Issues in Complex Litigation, Northwestern
Law School (Nov. 29, 2017) (panelist)

The Conservative Case for Class Actions, Consumer Class Action Symposium, National Consumer
Law Center, Washington, DC (Nov. 19, 2017)

The Conservative Case for Class Actions—A Monumental Debate, ABA National Institute on Class
Actions, Washington, DC (Oct. 26, 2017) (panelist)

One-Way Fee Shifting after Summary Judgment, 2017 Meeting of the Midwestern Law and
Economics Association, Marquette Law School, Milwaukee, WI (Oct. 20, 2017)

The Conservative Case for Class Actions, Pepperdine Law School Malibu, CA (Oct. 17, 2017)

One-Way Fee Shifting after Summary Judgment, Vanderbilt Law Review Symposium on The
Future of Discovery, Vanderbilt Law School, Nashville, TN (Oct. 13, 2017)

The Constitution Revision Commission and Florida’s Judiciary, 2017 Annual Florida Bar
Convention, Boca Raton, FL (June 22, 2017)

Class Actions After Spokeo v. Robins: Supreme Court Jurisprudence, Article III Standing, and
Practical Implications for the Bench and Practitioners, Northern District of California Judicial
Conference, Napa, CA (Apr. 29, 2017) (panelist)

The Ironic History of Rule 23, Conference on Secrecy, Institute for Law & Economic Policy,
Naples, FL (Apr. 21, 2017)

Justice Scalia and Class Actions: A Loving Critique, University of Notre Dame Law School, South
Bend, Indiana (Feb. 3, 2017)

Should Third-Party Litigation Financing Be Permitted in Class Actions?, Fifty Years of Class
Actions—A Global Perspective, Tel Aviv University, Tel Aviv, Israel (Jan. 4, 2017)

Hot Topics in Class Action and MDL Litigation, University of Miami School of Law, Miami,
Florida (Dec. 2, 2016) (panelist)


                                             5
The Ideological Consequences of Judicial Selection, William J. Brennan Lecture, Oklahoma City
University School of Law, Oklahoma, City, Oklahoma (Nov. 10, 2016)

After Fifty Years, What’s Class Action’s Future, ABA National Institute on Class Actions, Las
Vegas, Nevada (Oct. 20, 2016) (panelist)

Where Will Justice Scalia Rank Among the Most Influential Justices, State University of New York
at Stony Brook, Long Island, New York (Sep. 17, 2016)

The Ironic History of Rule 23, University of Washington Law School, Seattle, WA (July 14, 2016)

A Respected Judiciary—Balancing Independence and Accountability, 2016 Annual Florida Bar
Convention, Orlando, FL (June 16, 2016) (panelist)

What Will and Should Happen to Affirmative Action After Fisher v. Texas, American Association
of Law Schools Annual Meeting, New York, NY (January 7, 2016) (panelist)

Litigation Funding: The Basics and Beyond, NYU Center on Civil Justice, NYU Law School, New
York, NY (Nov. 20, 2015) (panelist)

Do Class Actions Offer Meaningful Compensation to Class Members, or Do They Simply Rip Off
Consumers Twice?, ABA National Institute on Class Actions, New Orleans, LA (Oct. 22, 2015)
(panelist)

Arbitration and the End of Class Actions?, Quinnipiac-Yale Dispute Resolution Workshop, Yale
Law School, New Haven, CT (Sep. 8, 2015) (panelist)

The Next Steps for Discovery Reform: Requester Pays, Lawyers for Civil Justice Membership
Meeting, Washington, DC (May 5, 2015)

Private Attorney General: Good or Bad?, 17th Annual Federalist Society Faculty Conference,
Washington, DC (Jan. 3, 2015)

Liberty, Judicial Independence, and Judicial Power, Liberty Fund Conference, Santa Fe, NM
(Nov. 13-16, 2014) (participant)

The Economics of Objecting for All the Right Reasons, 14th Annual Consumer Class Action
Symposium, Tampa, FL (Nov. 9, 2014)

Compensation in Consumer Class Actions: Data and Reform, Conference on The Future of Class
Action Litigation: A View from the Consumer Class, NYU Law School, New York, NY (Nov. 7,
2014)

The Future of Federal Class Actions: Can the Promise of Rule 23 Still Be Achieved?, Northern
District of California Judicial Conference, Napa, CA (Apr. 13, 2014) (panelist)

The End of Class Actions?, Conference on Business Litigation and Regulatory Agency Review in
the Era of Roberts Court, Institute for Law & Economic Policy, Boca Raton, FL (Apr. 4, 2014)

Should Third-Party Litigation Financing Come to Class Actions?, University of Missouri School of
Law, Columbia, MO (Mar. 7, 2014)

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Should Third-Party Litigation Financing Come to Class Actions?, George Mason Law School,
Arlington, VA (Mar. 6, 2014)

Should Third-Party Litigation Financing Come to Class Actions?, Roundtable for Third-Party
Funding Scholars, Washington & Lee University School of Law, Lexington, VA (Nov. 7-8, 2013)

Is the Future of Affirmative Action Race Neutral?, Conference on A Nation of Widening
Opportunities: The Civil Rights Act at 50, University of Michigan Law School, Ann Arbor, MI
(Oct. 11, 2013)

The Mass Tort Bankruptcy: A Pre-History, The Public Life of the Private Law: A Conference in
Honor of Richard A. Nagareda, Vanderbilt Law School, Nashville, TN (Sep. 28, 2013) (panelist)

Rights & Obligations in Alternative Litigation Financing and Fee Awards in Securities Class
Actions, Conference on the Economics of Aggregate Litigation, Institute for Law & Economic
Policy, Naples, FL (Apr. 12, 2013) (panelist)

The End of Class Actions?, Symposium on Class Action Reform, University of Michigan Law
School, Ann Arbor, MI (Mar. 16, 2013)

Toward a More Lawyer-Centric Class Action?, Symposium on Lawyering for Groups, Stein Center
for Law & Ethics, Fordham Law School, New York, NY (Nov. 30, 2012)

The Problem: AT & T as It Is Unfolding, Conference on AT & T Mobility v. Concepcion, Cardozo
Law School, New York, NY (Apr. 26, 2012) (panelist)

Standing under the Statements and Accounts Clause, Conference on Representation without
Accountability, Fordham Law School Corporate Law Center, New York, NY (Jan. 23, 2012)

The End of Class Actions?, Washington University Law School, St. Louis, MO (Dec. 9, 2011)

Book Preview Roundtable: Accelerating Democracy: Matching Social Governance to
Technological Change, Searle Center on Law, Regulation, and Economic Growth, Northwestern
University School of Law, Chicago, IL (Sep. 15-16, 2011) (participant)

Is Summary Judgment Unconstitutional? Some Thoughts About Originalism, Stanford Law
School, Palo Alto, CA (Mar. 3, 2011)

The Constitutionality of Federal Jurisdiction-Stripping Legislation and the History of State
Judicial Selection and Tenure, Northwestern Law School, Chicago, IL (Feb. 25, 2011)

The New Politics of Iowa Judicial Retention Elections: Examining the 2010 Campaign and Vote,
University of Iowa Law School, Iowa City, IA (Feb. 3, 2011) (panelist)

The Constitutionality of Federal Jurisdiction-Stripping Legislation and the History of State
Judicial Selection and Tenure, Washington University Law School, St. Louis, MO (Oct. 1, 2010)



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     Twombly and Iqbal Reconsidered, Symposium on Business Law and Regulation in the Roberts
     Court, Case Western Reserve Law School, Cleveland, OH (Sep. 17, 2010)

     Do Class Action Lawyers Make Too Little?, Institute for Law & Economic Policy, Providenciales,
     Turks & Caicos (Apr. 23, 2010)

     Originalism and Summary Judgment, Georgetown Law School, Washington, DC (Apr. 5, 2010)

     Theorizing Fee Awards in Class Action Litigation, Washington University Law School, St. Louis,
     MO (Dec. 11, 2009)

     An Empirical Study of Class Action Settlements and their Fee Awards, 2009 Conference on
     Empirical Legal Studies, University of Southern California Law School, Los Angeles, CA (Nov.
     20, 2009)

     Originalism and Summary Judgment, Symposium on Originalism and the Jury, Ohio State Law
     School, Columbus, OH (Nov. 17, 2009)

     An Empirical Study of Class Action Settlements and their Fee Awards, 2009 Meeting of the
     Midwestern Law and Economics Association, University of Notre Dame Law School, South Bend,
     IN (Oct. 10, 2009)

     The End of Objector Blackmail?, Stanford-Yale Junior Faculty Forum, Stanford Law School, Palo
     Alto, CA (May 29, 2009)

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     School of Law, Minneapolis, MN (Mar. 12, 2009)

     The Politics of Merit Selection, Symposium on State Judicial Selection and Retention Systems,
     University of Missouri Law School, Columbia, MO (Feb. 27, 2009)

     The End of Objector Blackmail?, Searle Center Research Symposium on the Empirical Studies of
     Civil Liability, Northwestern University School of Law, Chicago, IL (Oct. 9, 2008)

     Alternatives To Affirmative Action After The Michigan Civil Rights Initiative, University of
     Michigan School of Law, Ann Arbor, MI (Apr. 3, 2007) (panelist)


OTHER PUBLICATIONS

     Memo to Mitch: Repeal the Republican Tax Increase, THE HILL (July 17, 2020)

     The Right Way to End Qualified Immunity, THE HILL (June 25, 2020)

     I Still Remember, 133 HARV. L. REV. 2458 (2020)

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Verdict on Tennessee Plan May Require a Jury, THE MEMPHIS COMMERCIAL APPEAL (Apr. 16,
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14, 2008)

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Disorder in the Court, LOS ANGELES TIMES (Jul. 11, 2007)

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     10 Percent Fraud, WASHINGTON TIMES (Nov. 15, 2002)


OTHER PRESENTATIONS

     Does the Way We Choose our Judges Affect Case Outcomes?, American Legislative Exchange
     Council 2018 Annual Meeting, New Orleans, Louisiana (August 10, 2018) (panelist)

     Oversight of the Structure of the Federal Courts, Subcommittee on Oversight, Agency Action,
     Federal Rights and Federal Courts, United States Senate, Washington, D.C. (July 31, 2018)

     Where Will Justice Scalia Rank Among the Most Influential Justices, The Leo Bearman, Sr.
     American Inn of Court, Memphis, TN (Mar. 21, 2017)

     Bringing Justice Closer to the People: Examining Ideas for Restructuring the 9th Circuit,
     Subcommittee on Courts, Intellectual Property, and the Internet, United States House of
     Representatives, Washington, D.C. (Mar. 16, 2017)

     Supreme Court Review 2016: Current Issues and Cases Update, Nashville Bar Association,
     Nashville, TN (Sep. 15, 2016) (panelist)

     A Respected Judiciary—Balancing Independence and Accountability, Florida Bar Annual
     Convention, Orlando, FL (June 16, 2016) (panelist)

     Future Amendments in the Pipeline: Rule 23, Tennessee Bar Association, Nashville, TN (Dec. 2,
     2015)

     The New Business of Law: Attorney Outsourcing, Legal Service Companies, and Commercial
     Litigation Funding, Tennessee Bar Association, Nashville, TN (Nov. 12, 2014)

     Hedge Funds + Lawsuits = A Good Idea?, Vanderbilt University Alumni Association,
     Washington, DC (Sep. 3, 2014)

     Judicial Selection in Historical and National Perspective, Committee on the Judiciary, Kansas
     Senate (Jan. 16, 2013)

     The Practice that Never Sleeps: What’s Happened to, and What’s Next for, Class Actions, ABA
     Annual Meeting, Chicago, IL (Aug. 3, 2012) (panelist)

     Life as a Supreme Court Law Clerk and Views on the Health Care Debate, Exchange Club,
     Nashville, TN (Apr. 3, 2012)

     The Tennessee Judicial Selection Process—Shaping Our Future, Tennessee Bar Association
     Leadership Law Retreat, Dickson, TN (Feb. 3, 2012) (panelist)




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     Reexamining the Class Action Practice, ABA National Institute on Class Actions, New York, NY
     (Oct. 14, 2011) (panelist)

     Judicial Selection in Kansas, Committee on the Judiciary, Kansas House of Representatives (Feb.
     16, 2011)

     Judicial Selection and the Tennessee Constitution, Civil Practice and Procedure Subcommittee,
     Tennessee House of Representatives (Mar. 24, 2009)

     What Would Happen if the Judicial Selection and Evaluation Commissions Sunset?, Civil Practice
     and Procedure Subcommittee, Tennessee House of Representatives (Feb. 24, 2009)

     Judicial Selection in Tennessee, Chattanooga Bar Association, Chattanooga, TN (Feb. 27, 2008)
     (panelist)

     Ethical Implications of Tennessee’s Judicial Selection Process, Tennessee Bar Association,
     Nashville, TN (Dec. 12, 2007)


PROFESSIONAL ASSOCIATIONS

     Member, American Law Institute
     Referee, Journal of Law, Economics and Organization
     Referee, Journal of Empirical Legal Studies
     Reviewer, Oxford University Press
     Reviewer, Supreme Court Economic Review
     Member, American Bar Association
     Member, Tennessee Advisory Committee to the U.S. Commission on Civil Rights
     Board of Directors, Tennessee Stonewall Bar Association
     American Swiss Foundation Young Leaders’ Conference, 2012
     Bar Admission, District of Columbia


COMMUNITY ACTIVITIES

     Board of Directors, Nashville Ballet, 2011-2017 & 2019-present; Board of Directors, Beacon
     Center, 2018-present; Nashville Talking Library for the Blind, 2008-2009




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EXHIBIT 2
Journal of Empirical Legal Studies
Volume 7, Issue 4, 811–846, December 2010




An Empirical Study of Class Action
Settlements and Their Fee Awards                                                            jels_1196   811..846




Brian T. Fitzpatrick*


     This article is a comprehensive empirical study of class action settlements in federal court.
     Although there have been prior empirical studies of federal class action settlements, these
     studies have either been confined to securities cases or have been based on samples of cases
     that were not intended to be representative of the whole (such as those settlements approved
     in published opinions). By contrast, in this article, I attempt to study every federal class
     action settlement from the years 2006 and 2007. As far as I am aware, this study is the first
     attempt to collect a complete set of federal class action settlements for any given year. I find
     that district court judges approved 688 class action settlements over this two-year period,
     involving nearly $33 billion. Of this $33 billion, roughly $5 billion was awarded to class action
     lawyers, or about 15 percent of the total. Most judges chose to award fees by using the highly
     discretionary percentage-of-the-settlement method, and the fees awarded according to this
     method varied over a broad range, with a mean and median around 25 percent. Fee
     percentages were strongly and inversely associated with the size of the settlement. The age
     of the case at settlement was positively associated with fee percentages. There was some
     variation in fee percentages depending on the subject matter of the litigation and the
     geographic circuit in which the district court was located, with lower percentages in securi-
     ties cases and in settlements from the Second and Ninth Circuits. There was no evidence that
     fee percentages were associated with whether the class action was certified as a settlement
     class or with the political affiliation of the judge who made the award.


I. Introduction
Class actions have been the source of great controversy in the United States. Corporations
fear them.1 Policymakers have tried to corral them.2 Commentators and scholars have


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   Research for this article was supported by Vanderbilt’s Cecil D. Branstetter Litigation & Dispute Resolution
Program and Law & Business Program. I am grateful for comments I received from Dale Collins, Robin Effron, Ted
Eisenberg, Deborah Hensler, Richard Nagareda, Randall Thomas, an anonymous referee for this journal, and
participants at workshops at Vanderbilt Law School, the University of Minnesota Law School, the 2009 Meeting of the
Midwestern Law and Economics Association, and the 2009 Conference on Empirical Legal Studies. I am also grateful
for the research assistance of Drew Dorner, David Dunn, James Gottry, Chris Lantz, Gary Peeples, Keith Randall,
Andrew Yi, and, especially, Jessica Pan.

1
 See, e.g., Robert W. Wood, Defining Employees and Independent Contractors, Bus. L. Today 45, 48 (May–June
2008).

2
 See Private Securities Litigation Reform Act (PSLRA) of 1995, Pub. L. No. 104-67, 109 Stat. 737 (codified as amended
in scattered sections of 15 U.S.C.); Class Action Fairness Act of 2005, 28 U.S.C. §§ 1453, 1711–1715 (2006).




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suggested countless ways to reform them.3 Despite all the attention showered on class
actions, and despite the excellent empirical work on class actions to date, the data that
currently exist on how the class action system operates in the United States are limited. We
do not know, for example, how much money changes hands in class action litigation every
year. We do not know how much of this money goes to class action lawyers rather than class
members. Indeed, we do not even know how many class action cases are resolved on an
annual basis. To intelligently assess our class action system as well as whether and how it
should be reformed, answers to all these questions are important. Answers to these ques-
tions are equally important to policymakers in other countries who are currently thinking
about adopting U.S.-style class action devices.4
       This article tries to answer these and other questions by reporting the results of an
empirical study that attempted to gather all class action settlements approved by federal
judges over a recent two-year period, 2006 and 2007. I use class action settlements as the
basis of the study because, even more so than individual litigation, virtually all cases certified
as class actions and not dismissed before trial end in settlement.5 I use federal settlements
as the basis of the study for practical reasons: it was easier to identify and collect settlements
approved by federal judges than those approved by state judges. Systematic study of class
action settlements in state courts must await further study;6 these future studies are impor-
tant because there may be more class action settlements in state courts than there are in
federal court.7
       This article attempts to make three contributions to the existing empirical literature
on class action settlements. First, virtually all the prior empirical studies of federal class
action settlements have either been confined to securities cases or have been based on
samples of cases that were not intended to be representative of the whole (such as those
settlements approved in published opinions). In this article, by contrast, I attempt to collect
every federal class action settlement from the years 2006 and 2007. As far as I am aware, this
study is the first to attempt to collect a complete set of federal class action settlements for



3
 See, e.g., Robert G. Bone, Agreeing to Fair Process: The Problem with Contractarian Theories of Procedural Fairness,
83 B.U.L. Rev. 485, 490–94 (2003); Allan Erbsen, From “Predominance” to “Resolvability”: A New Approach to
Regulating Class Actions, 58 Vand. L. Rev. 995, 1080–81 (2005).

4
 See, e.g., Samuel Issacharoff & Geoffrey Miller, Will Aggregate Litigation Come to Europe?, 62 Vand. L. Rev. 179
(2009).

5
 See, e.g., Emery Lee & Thomas E. Willing, Impact of the Class Action Fairness Act on the Federal Courts: Preliminary
Findings from Phase Two’s Pre-CAFA Sample of Diversity Class Actions 11 (Federal Judicial Center 2008); Tom Baker
& Sean J. Griffith, How the Merits Matter: D&O Insurance and Securities Settlements, 157 U. Pa. L. Rev. 755 (2009).

6
 Empirical scholars have begun to study state court class actions in certain subject areas and in certain states. See, e.g.,
Robert B. Thompson & Randall S. Thomas, The Public and Private Faces of Derivative Suits, 57 Vand. L. Rev. 1747
(2004); Robert B. Thompson & Randall S. Thomas, The New Look of Shareholder Litigation: Acquisition-Oriented
Class Actions, 57 Vand. L. Rev. 133 (2004); Findings of the Study of California Class Action Litigation (Administrative
Office of the Courts) (First Interim Report, 2009).

7
See Deborah R. Hensler et al., Class Action Dilemmas: Pursuing Public Goals for Private Gain 56 (2000).
                                                               Class Action Settlements and Fee Awards                813

any given year.8 As such, this article allows us to see for the first time a complete picture of
the cases that are settled in federal court. This includes aggregate annual statistics, such as
how many class actions are settled every year, how much money is approved every year in
these settlements, and how much of that money class action lawyers reap every year. It also
includes how these settlements are distributed geographically as well as by litigation area,
what sort of relief was provided in the settlements, how long the class actions took to reach
settlement, and an analysis of what factors were associated with the fees awarded to class
counsel by district court judges.
       Second, because this article analyzes settlements that were approved in both pub-
lished and unpublished opinions, it allows us to assess how well the few prior studies that
looked beyond securities cases but relied only on published opinions capture the complete
picture of class action settlements. To the extent these prior studies adequately capture the
complete picture, it may be less imperative for courts, policymakers, and empirical scholars
to spend the considerable resources needed to collect unpublished opinions in order to
make sound decisions about how to design our class action system.
       Third, this article studies factors that may influence district court judges when they
award fees to class counsel that have not been studied before. For example, in light of the
discretion district court judges have been delegated over fees under Rule 23, as well as the
salience the issue of class action litigation has assumed in national politics, realist theories
of judicial behavior would predict that Republican judges would award smaller fee percent-
ages than Democratic judges. I study whether the political beliefs of district court judges are
associated with the fees they award and, in doing so, contribute to the literature that
attempts to assess the extent to which these beliefs influence the decisions of not just
appellate judges, but trial judges as well. Moreover, the article contributes to the small but
growing literature examining whether the ideological influences found in published judi-
cial decisions persist when unpublished decisions are examined as well.
       In Section II of this article, I briefly survey the existing empirical studies of class
action settlements. In Section III, I describe the methodology I used to collect the 2006–
2007 federal class action settlements and I report my findings regarding these settlements.
District court judges approved 688 class action settlements over this two-year period,
involving over $33 billion. I report a number of descriptive statistics for these settlements,
including the number of plaintiff versus defendant classes, the distribution of settlements
by subject matter, the age of the case at settlement, the geographic distribution of settle-
ments, the number of settlement classes, the distribution of relief across settlements, and
various statistics on the amount of money involved in the settlements. It should be noted
that despite the fact that the few prior studies that looked beyond securities settlements
appeared to oversample larger settlements, much of the analysis set forth in this article is
consistent with these prior studies. This suggests that scholars may not need to sample
unpublished as well as published opinions in order to paint an adequate picture of class
action settlements.


8
 Of course, I cannot be certain that I found every one of the class actions that settled in federal court over this period.
Nonetheless, I am confident that if I did not find some, the number I did not find is small and would not contribute
meaningfully to the data reported in this article.
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       In Section IV, I perform an analysis of the fees judges awarded to class action lawyers
in the 2006–2007 settlements. All told, judges awarded nearly $5 billion over this two-year
period in fees and expenses to class action lawyers, or about 15 percent of the total amount
of the settlements. Most federal judges chose to award fees by using the highly discretionary
percentage-of-the-settlement method and, unsurprisingly, the fees awarded according to
this method varied over a broad range, with a mean and median around 25 percent. Using
regression analysis, I confirm prior studies and find that fee percentages are strongly and
inversely associated with the size of the settlement. Further, I find that the age of the case
is positively associated with fee percentages but that the percentages were not associated
with whether the class action was certified as a settlement class. There also appeared to be
some variation in fee percentages depending on the subject matter of the litigation and the
geographic circuit in which the district court was located. Fee percentages in securities cases
were lower than the percentages in some but not all other areas, and district courts in some
circuits—the Ninth and the Second (in securities cases)—awarded lower fee percentages
than courts in many other circuits. Finally, the regression analysis did not confirm the
realist hypothesis: there was no association between fee percentage and the political beliefs
of the judge in any regression.



II. Prior Empirical Studies of Class Action Settlements
There are many existing empirical studies of federal securities class action settlements.9
Studies of securities settlements have been plentiful because for-profit organizations main-
tain lists of all federal securities class action settlements for the benefit of institutional
investors that are entitled to file claims in these settlements.10 Using these data, studies have
shown that since 2005, for example, there have been roughly 100 securities class action
settlements in federal court each year, and these settlements have involved between $7
billion and $17 billion per year.11 Scholars have used these data to analyze many different
aspects of these settlements, including the factors that are associated with the percentage of




9
 See, e.g., James D. Cox & Randall S. Thomas, Does the Plaintiff Matter? An Empirical Analysis of Lead Plaintiffs in
Securities Class Actions, 106 Colum. L. Rev. 1587 (2006); James D. Cox, Randall S. Thomas & Lynn Bai, There are
Plaintiffs and . . . there are Plaintiffs: An Empirical Analysis of Securities Class Action Settlements, 61 Vand. L. Rev.
355 (2008); Theodore Eisenberg, Geoffrey Miller & Michael A. Perino, A New Look at Judicial Impact: Attorneys’ Fees
in Securities Class Actions after Goldberger v. Integrated Resources, Inc., 29 Wash. U.J.L. & Pol’y 5 (2009); Michael A.
Perino, Markets and Monitors: The Impact of Competition and Experience on Attorneys’ Fees in Securities
Class Actions (St. John’s Legal Studies, Research Paper No. 06-0034, 2006), available at <http://ssrn.com/
abstract=870577> [hereinafter Perino, Markets and Monitors]; Michael A. Perino, The Milberg Weiss Prosecution: No
Harm, No Foul? (St. John’s Legal Studies, Research Paper No. 08-0135, 2008), available at <http://papers.ssrn.com/
sol3/papers.cfm?abstract_id=1133995> [hereinafter Perino, Milberg Weiss].

 See, e.g., RiskMetrics Group, available at <http://www.riskmetrics.com/scas>.
10



11
 See Cornerstone Research, Securities Class Action Settlements: 2007 Review and Analysis 1 (2008), available at
<http://securities.stanford.edu/Settlements/REVIEW_1995-2007/Settlements_Through_12_2007.pdf>.
                                                            Class Action Settlements and Fee Awards               815

the settlements that courts have awarded to class action lawyers.12 These studies have found
that the mean and median fees awarded by district court judges are between 20 percent and
30 percent of the settlement amount.13 These studies have also found that a number of
factors are associated with the percentage of the settlement awarded as fees, including
(inversely) the size of the settlement, the age of the case, whether a public pension fund was
the lead plaintiff, and whether certain law firms were class counsel.14 None of these studies
has examined whether the political affiliation of the federal district court judge awarding
the fees was associated with the size of awards.
        There are no comparable organizations that maintain lists of nonsecurities class
action settlements. As such, studies of class action settlements beyond the securities area are
much rarer and, when they have been done, rely on samples of settlements that were not
intended to be representative of the whole. The two largest studies of class action settle-
ments not limited to securities class actions are a 2004 study by Ted Eisenberg and Geoff
Miller,15 which was recently updated to include data through 2008,16 and a 2003 study by
Class Action Reports.17 The Eisenberg-Miller studies collected data from class action settle-
ments in both state and federal courts found from court opinions published in the Westlaw
and Lexis databases and checked against lists maintained by the CCH Federal Securities
and Trade Regulation Reporters. Through 2008, their studies have now identified 689
settlements over a 16-year period, or less than 45 settlements per year.18 Over this 16-year
period, their studies found that the mean and median settlement amounts were, respec-
tively, $116 million and $12.5 million (in 2008 dollars), and that the mean and median fees
awarded by district courts were 23 percent and 24 percent of the settlement, respectively.19
Their studies also performed an analysis of fee percentages and fee awards. For the data
through 2002, they found that the percentage of the settlement awarded as fees was
associated with the size of the settlement (inversely), the age of the case, and whether the



12
 See, e.g., Eisenberg, Miller & Perino, supra note 9, at 17–24, 28–36; Perino, Markets and Monitors, supra note 9, at
12–28, 39–44; Perino, Milberg Weiss, supra note 9, at 32–33, 39–60.

13
  See, e.g., Eisenberg, Miller & Perino, supra note 9, at 17–18, 22, 28, 33; Perino, Markets and Monitors, supra note
9, at 20–21, 40; Perino, Milberg Weiss, supra note 9, at 32–33, 51–53.

14
  See, e.g., Eisenberg, Miller & Perino, supra note 9, at 14–24, 29–30, 33–34; Perino, Markets and Monitors, supra note
9, at 20–28, 41; Perino, Milberg Weiss, supra note 9, at 39–58.

15
 See Theodore Eisenberg & Geoffrey Miller, Attorney Fees in Class Action Settlements: An Empirical Study, 1 J.
Empirical Legal Stud. 27 (2004).

16
 See Theodore Eisenberg & Geoffrey Miller, Attorneys’ Fees and Expenses in Class Action Settlements: 1993–2008,
7 J. Empirical Legal Stud. 248 (2010) [hereinafter Eisenberg & Miller II].

17
 See Stuart J. Logan, Jack Moshman & Beverly C. Moore, Jr., Attorney Fee Awards in Common Fund Class Actions,
24 Class Action Rep. 169 (Mar.–Apr. 2003).

18
 See Eisenberg & Miller II, supra note 16, at 251.

19
 Id. at 258–59.
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district court went out of its way to comment on the level of risk that class counsel
had assumed in pursuing the case.20 For the data through 2008, they regressed only fee
awards and found that the awards were inversely associated with the size of the settlement,
that state courts gave lower awards than federal courts, and that the level of risk was still
associated with larger awards.21 Their studies have not examined whether the political
affiliations of the federal district court judges awarding fees were associated with the size of
the awards.
        The Class Action Reports study collected data on 1,120 state and federal settlements
over a 30-year period, or less than 40 settlements per year.22 Over the same 10-year period
analyzed by the Eisenberg-Miller study, the Class Action Reports data found mean and
median settlements of $35.4 and $7.6 million (in 2002 dollars), as well as mean and median
fee percentages between 25 percent and 30 percent.23 Professors Eisenberg and Miller
performed an analysis of the fee awards in the Class Action Reports study and found the
percentage of the settlement awarded as fees was likewise associated with the size of the
settlement (inversely) and the age of the case.24




III. Federal Class Action Settlements, 2006 and 2007
As far as I am aware, there has never been an empirical study of all federal class action
settlements in a particular year. In this article, I attempt to make such a study for two recent
years: 2006 and 2007. To compile a list of all federal class settlements in 2006 and 2007, I
started with one of the aforementioned lists of securities settlements, the one maintained by
RiskMetrics, and I supplemented this list with settlements that could be found through
three other sources: (1) broad searches of district court opinions in the Westlaw and Lexis
databases,25 (2) four reporters of class action settlements—BNA Class Action Litigation Report,
Mealey’s Jury Verdicts and Settlements, Mealey’s Litigation Report, and the Class Action World
website26—and (3) a list from the Administrative Office of Courts of all district court cases




20
 See Eisenberg & Miller, supra note 15, at 61–62.

21
 See Eisenberg & Miller II, supra note 16, at 278.

22
 See Eisenberg & Miller, supra note 15, at 34.

23
 Id. at 47, 51.

24
 Id. at 61–62.

25
  The searches consisted of the following terms: (“class action” & (settle! /s approv! /s (2006 2007))); (((counsel
attorney) /s fee /s award!) & (settle! /s (2006 2007)) & “class action”); (“class action” /s settle! & da(aft 12/31/2005
& bef 1/1/2008)); (“class action” /s (fair reasonable adequate) & da(aft 12/31/2005 & bef 1/1/2008)).

 See <http://classactionworld.com/>.
26
                                                              Class Action Settlements and Fee Awards                817

coded as class actions that terminated by settlement between 2005 and 2008.27 I then
removed any duplicate cases and examined the docket sheets and court orders of each of
the remaining cases to determine whether the cases were in fact certified as class actions
under either Rule 23, Rule 23.1, or Rule 23.2.28 For each of the cases verified as such, I
gathered the district court’s order approving the settlement, the district court’s order
awarding attorney fees, and, in many cases, the settlement agreements and class counsel’s
motions for fees, from electronic databases (such as Westlaw or PACER) and, when neces-
sary, from the clerk’s offices of the various federal district courts. In this section, I report the
characteristics of the settlements themselves; in the next section, I report the characteristics
of the attorney fees awarded to class counsel by the district courts that approved the
settlements.


A. Number of Settlements

I found 688 settlements approved by federal district courts during 2006 and 2007 using
the methodology described above. This is almost the exact same number the Eisenberg-
Miller study found over a 16-year period in both federal and state court. Indeed, the
number of annual settlements identified in this study is several times the number of annual
settlements that have been identified in any prior empirical study of class action settle-
ments. Of the 688 settlements I found, 304 were approved in 2006 and 384 were
approved in 2007.29


B. Defendant Versus Plaintiff Classes

Although Rule 23 permits federal judges to certify either a class of plaintiffs or a class of
defendants, it is widely assumed that it is extremely rare for courts to certify defendant
classes.30 My findings confirm this widely held assumption. Of the 688 class action settle-
ments approved in 2006 and 2007, 685 involved plaintiff classes and only three involved




27
 I examined the AO lists in the year before and after the two-year period under investigation because the termination
date recorded by the AO was not necessarily the same date the district court approved the settlement.

28
  See Fed. R. Civ. P. 23, 23.1, 23.2. I excluded from this analysis opt-in collective actions, such as those brought
pursuant to the provisions of the Fair Labor Standards Act (see 29 U.S.C. § 216(b)), if such actions did not also
include claims certified under the opt-out mechanism in Rule 23.

29
 A settlement was assigned to a particular year if the district court judge’s order approving the settlement was dated
between January 1 and December 31 of that year. Cases involving multiple defendants sometimes settled over time
because defendants would settle separately with the plaintiff class. All such partial settlements approved by the district
court on the same date were treated as one settlement. Partial settlements approved by the district court on different
dates were treated as different settlements.

30
 See, e.g., Robert H. Klonoff, Edward K.M. Bilich & Suzette M. Malveaux, Class Actions and Other Multi-Party
Litigation: Cases and Materials 1061 (2d ed. 2006).
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defendant classes. All three of the defendant-class settlements were in employment benefits
cases, where companies sued classes of current or former employees.31


C. Settlement Subject Areas

Although courts are free to certify Rule 23 classes in almost any subject area, it is widely
assumed that securities settlements dominate the federal class action docket.32 At least in
terms of the number of settlements, my findings reject this conventional wisdom. As Table 1
shows, although securities settlements comprised a large percentage of the 2006 and 2007
settlements, they did not comprise a majority of those settlements. As one would have


                      Table 1: The Number of Class Action Settlements
                      Approved by Federal Judges in 2006 and 2007 in Each
                      Subject Area
                                                                  Number of Settlements

                      Subject Matter                           2006                   2007

                      Securities                           122 (40%)               135 (35%)
                      Labor and employment                  41 (14%)                53 (14%)
                      Consumer                              40 (13%)                47 (12%)
                      Employee benefits                     23 (8%)                 38 (10%)
                      Civil rights                          24 (8%)                 37 (10%)
                      Debt collection                       19 (6%)                 23 (6%)
                      Antitrust                             13 (4%)                 17 (4%)
                      Commercial                             4 (1%)                  9 (2%)
                      Other                                 18 (6%)                 25 (6%)
                      Total                                304                     384

                      Note: Securities: cases brought under federal and state securities laws.
                      Labor and employment: workplace claims brought under either federal
                      or state law, with the exception of ERISA cases. Consumer: cases brought
                      under the Fair Credit Reporting Act as well as cases for consumer fraud
                      and the like. Employee benefits: ERISA cases. Civil rights: cases brought
                      under 42 U.S.C. § 1983 or cases brought under the Americans with
                      Disabilities Act seeking nonworkplace accommodations. Debt collec-
                      tion: cases brought under the Fair Debt Collection Practices Act. Anti-
                      trust: cases brought under federal or state antitrust laws. Commercial:
                      cases between businesses, excluding antitrust cases. Other: includes,
                      among other things, derivative actions against corporate managers and
                      directors, environmental suits, insurance suits, Medicare and Medicaid
                      suits, product liability suits, and mass tort suits.
                      Sources: Westlaw, PACER, district court clerks’ offices.



31
 See Halliburton Co. v. Graves, No. 04-00280 (S.D. Tex., Sept. 28, 2007); Rexam, Inc. v. United Steel Workers of Am.,
No. 03-2998 (D. Minn. Aug. 29, 2007); Rexam, Inc. v. United Steel Workers of Am., No. 03-2998 (D. Minn. Sept. 17,
2007).

32
 See, e.g., John C. Coffee, Jr., Reforming the Security Class Action: An Essay on Deterrence and its Implementation,
106 Colum. L. Rev. 1534, 1539–40 (2006) (describing securities class actions as “the 800-pound gorilla that dominates
and overshadows other forms of class actions”).
                                                           Class Action Settlements and Fee Awards    819

expected in light of Supreme Court precedent over the last two decades,33 there were
almost no mass tort class actions (included in the “Other” category) settled over the
two-year period.
       Although the Eisenberg-Miller study through 2008 is not directly comparable on the
distribution of settlements across litigation subject areas—because its state and federal
court data cannot be separated (more than 10 percent of the settlements were from state
court34) and because it excludes settlements in fee-shifting cases—their study through 2008
is the best existing point of comparison. Interestingly, despite the fact that state courts were
included in their data, their study through 2008 found about the same percentage of
securities cases (39 percent) as my 2006–2007 data set shows.35 However, their study found
many more consumer (18 percent) and antitrust (10 percent) cases, while finding many
fewer labor and employment (8 percent), employee benefits (6 percent), and civil rights (3
percent) cases.36 This is not unexpected given their reliance on published opinions and
their exclusion of fee-shifting cases.


D. Settlement Classes

The Federal Rules of Civil Procedure permit parties to seek certification of a suit as a class
action for settlement purposes only.37 When the district court certifies a class in such
circumstances, the court need not consider whether it would be manageable to try the
litigation as a class.38 So-called settlement classes have always been more controversial than
classes certified for litigation because they raise the prospect that, at least where there are
competing class actions filed against the same defendant, the defendant could play class
counsel off one another to find the one willing to settle the case for the least amount of
money.39 Prior to the Supreme Court’s 1997 opinion in Amchem Products, Inc. v. Windsor,40
it was uncertain whether the Federal Rules even permitted settlement classes. It may
therefore be a bit surprising to learn that 68 percent of the federal settlements in 2006 and
2007 were settlement classes. This percentage is higher than the percentage found in the
Eisenberg-Miller studies, which found that only 57 percent of class action settlements in



33
 See, e.g., Samuel Issacharoff, Private Claims, Aggregate Rights, 2008 Sup. Ct. Rev. 183, 208.

34
 See Eisenberg & Miller II, supra note 16, at 257.

35
 Id. at 262.

36
 Id.

37
 See Martin H. Redish, Settlement Class Actions, The Case-or-Controversy Requirement, and the Nature of the
Adjudicatory Process, 73 U. Chi. L. Rev. 545, 553 (2006).

38
 See Amchem Prods., Inc v Windsor, 521 U.S. 591, 620 (1997).

39
 See Redish, supra note 368, at 557–59.

40
 521 U.S. 591 (1997).
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state and federal court between 2003 and 2008 were settlement classes.41 It should be noted
that the distribution of litigation subject areas among the settlement classes in my 2006–
2007 federal data set did not differ much from the distribution among nonsettlement
classes, with two exceptions. One exception was consumer cases, which were nearly three
times as prevalent among settlement classes (15.9 percent) as among nonsettlement classes
(5.9 percent); the other was civil rights cases, which were four times as prevalent among
nonsettlement classes (18.0 percent) as among settlements classes (4.5 percent). In light of
the skepticism with which the courts had long treated settlement classes, one might have
suspected that courts would award lower fee percentages in such settlements. Nonetheless,
as I report in Section III, whether a case was certified as a settlement class was not associated
with the fee percentages awarded by federal district court judges.


E. The Age at Settlement

One interesting question is how long class actions were litigated before they reached
settlement. Unsurprisingly, cases reached settlement over a wide range of ages.42 As shown
in Table 2, the average time to settlement was a bit more than three years (1,196 days) and
the median time was a bit under three years (1,068 days). The average and median ages
here are similar to those found in the Eisenberg-Miller study through 2002, which found
averages of 3.35 years in fee-shifting cases and 2.86 years in non-fee-shifting cases, and


                      Table 2: The Number of Days, 2006–2007, Federal
                      Class Action Cases Took to Reach Settlement in Each
                      Subject Area
                      Subject Matter                 Average   Median   Minimum     Maximum

                      Securities                     1,438     1,327       392         3,802
                      Labor and employment             928       786       105         2,497
                      Consumer                         963       720       127         4,961
                      Employee benefits              1,162     1,161       164         3,157
                      Civil rights                   1,373     1,360       181         3,354
                      Debt collection                  738       673       223         1,973
                      Antitrust                      1,140     1,167       237         2,480
                      Commercial                     1,267       760       163         5,443
                      Other                          1,065       962       185         3,620
                      All                            1,196     1,068       105         5,443

                      Source: PACER.




41
 See Eisenberg & Miller II, supra note 16, at 266.

42
  The age of the case was calculated by subtracting the date the relevant complaint was filed from the date the
settlement was approved by the district court judge. The dates were taken from PACER. For consolidated cases, I used
the date of the earliest complaint. If the case had been transferred, consolidated, or removed, the date the complaint
was filed was not always available from PACER. In such cases, I used the date the case was transferred, consolidated,
or removed as the start date.
                                                           Class Action Settlements and Fee Awards   821

medians of 4.01 years in fee-shifting cases and 3.0 years in non-fee-shifting cases.43 Their
study through 2008 did not report case ages.
      The shortest time to settlement was 105 days in a labor and employment case.44 The
longest time to settlement was nearly 15 years (5,443 days) in a commercial case.45 The
average and median time to settlement varied significantly by litigation subject matter, with
securities cases generally taking the longest time and debt collection cases taking the
shortest time. Labor and employment cases and consumer cases also settled relatively early.


F. The Location of Settlements

The 2006–2007 federal class action settlements were not distributed across the country in
the same way federal civil litigation is in general. As Figure 1 shows, some of the geo-
graphic circuits attracted much more class action attention than we would expect based
on their docket size, and others attracted much less. In particular, district courts in the
First, Second, Seventh, and Ninth Circuits approved a much larger share of class action
settlements than the share of all civil litigation they resolved, with the First, Second, and
Seventh Circuits approving nearly double the share and the Ninth Circuit approving
one-and-one-half times the share. By contrast, the shares of class action settlements
approved by district courts in the Fifth and Eighth Circuits were less than one-half of
their share of all civil litigation, with the Third, Fourth, and Eleventh Circuits also exhib-
iting significant underrepresentation.
       With respect to a comparison with the Eisenberg-Miller studies, their federal court
data through 2008 can be separated from their state court data on the question of the
geographic distribution of settlements, and there are some significant differences between
their federal data and the numbers reflected in Figure 1. Their study reported considerably
higher proportions of settlements than I found from the Second (23.8 percent), Third
(19.7 percent), Eighth (4.8 percent), and D.C. (3.3 percent) Circuits, and considerably
lower proportions from the Fourth (1.3 percent), Seventh (6.8 percent), and Ninth (16.6
percent) Circuits.46
       Figure 2 separates the class action settlement data in Figure 1 into securities and
nonsecurities cases. Figure 2 suggests that the overrepresentation of settlements in the First
and Second Circuits is largely attributable to securities cases, whereas the overrepresenta-
tion in the Seventh Circuit is attributable to nonsecurities cases, and the overrepresentation
in the Ninth is attributable to both securities and nonsecurities cases.
       It is interesting to ask why some circuits received more class action attention than
others. One hypothesis is that class actions are filed in circuits where class action lawyers



43
 See Eisenberg & Miller, supra note 15, at 59–60.

44
 See Clemmons v. Rent-a-Center W., Inc., No. 05-6307 (D. Or. Jan. 20, 2006).

45
 See Allapattah Servs. Inc. v. Exxon Corp., No. 91-0986 (S.D. Fla. Apr. 7, 2006).

46
 See Eisenberg & Miller II, supra note 16, at 260.
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Figure 1: The percentage of 2006–2007 district court civil terminations and class action
settlements in each federal circuit.




Sources: PACER, Statistical Tables for the Federal Judiciary 2006 & 2007 (available at <http://www.uscourts.gov/
stats/index.html>).




believe they can find favorable law or favorable judges. Federal class actions often involve
class members spread across multiple states and, as such, class action lawyers may have a
great deal of discretion over the district in which file suit.47 One way law or judges may be
favorable to class action attorneys is with regard to attorney fees. In Section III, I attempt to
test whether district court judges in the circuits with the most over- and undersubscribed
class action dockets award attorney fees that would attract or discourage filings there; I find
no evidence that they do.
       Another hypothesis is that class action suits are settled in jurisdictions where defen-
dants are located. This might be the case because although class action lawyers may have
discretion over where to file, venue restrictions might ultimately restrict cases to jurisdic-




47
 See Samuel Issacharoff & Richard Nagareda, Class Settlements Under Attack, 156 U. Pa. L. Rev. 1649, 1662
(2008).
                                                           Class Action Settlements and Fee Awards              823

Figure 2: The percentage of 2006–2007 district court civil terminations and class action
settlements in each federal circuit.




Sources: PACER, Statistical Tables for the Federal Judiciary 2006 & 2007 (available at <http://www.uscourts.gov/
stats/index.html>).



tions in which defendants have their corporate headquarters or other operations.48 This
might explain why the Second Circuit, with the financial industry in New York, sees so many
securities suits, and why other circuits with cities with a large corporate presence, such as
the First (Boston), Seventh (Chicago), and Ninth (Los Angeles and San Francisco), see
more settlements than one would expect based on the size of their civil dockets.
       Another hypothesis might be that class action lawyers file cases wherever it is
most convenient for them to litigate the cases—that is, in the cities in which their
offices are located. This, too, might explain the Second Circuit’s overrepresentation in
securities settlements, with prominent securities firms located in New York, as well as the



48
  See 28 U.S.C. §§ 1391, 1404, 1406, 1407. See also Foster v. Nationwide Mut. Ins. Co., No. 07-04928, 2007 U.S. Dist.
LEXIS 95240 at *2–17 (N.D. Cal. Dec. 14, 2007) (transferring venue to jurisdiction where defendant’s corporate
headquarters were located). One prior empirical study of securities class action settlements found that 85 percent of
such cases are filed in the home circuit of the defendant corporation. See James D. Cox, Randall S. Thomas & Lynn
Bai, Do Differences in Pleading Standards Cause Forum Shopping in Securities Class Actions?: Doctrinal and
Empirical Analyses, 2009 Wis. L. Rev. 421, 429, 440, 450–51 (2009).
824         Fitzpatrick

overrepresentation of other settlements in some of the circuits in which major metropoli-
tan areas with prominent plaintiffs’ firms are found.


G. Type of Relief

Under Rule 23, district court judges can certify class actions for injunctive or declaratory
relief, for money damages, or for a combination of the two.49 In addition, settlements can
provide money damages both in the form of cash as well as in the form of in-kind relief,
such as coupons to purchase the defendant’s products.50
       As shown in Table 3, the vast majority of class actions settled in 2006 and 2007
provided cash relief to the class (89 percent), but a substantial number also provided
in-kind relief (6 percent) or injunctive or declaratory relief (23 percent). As would be


Table 3: The Percentage of 2006 and 2007 Class Action Settlements Providing Each Type
of Relief in Each Subject Area
Subject Matter                          Cash                In-Kind Relief              Injunctive or Declaratory Relief

Securities                              100%                      0%                                  2%
  (n = 257)
Labor and employment                     95%                      6%                                 29%
  (n = 94)
Consumer                                 74%                    30%                                  37%
  (n = 87)
Employee benefits                        90%                      0%                                 34%
  (n = 61)
Civil rights                             49%                      2%                                 75%
  (n = 61)
Debt collection                          98%                      0%                                 12%
  (n = 42)
Antitrust                                97%                    13%                                   7%
  (n = 30)
Commercial                               92%                      0%                                 62%
  (n = 13)
Other                                    77%                      7%                                 33%
  (n = 43)
All                                      89%                      6%                                 23%
  (n = 688)

Note: Cash: cash, securities, refunds, charitable contributions, contributions to employee benefit plans, forgiven
debt, relinquishment of liens or claims, and liquidated repairs to property. In-kind relief: vouchers, coupons, gift
cards, warranty extensions, merchandise, services, and extended insurance policies. Injunctive or declaratory relief:
modification of terms of employee benefit plans, modification of compensation practices, changes in business
practices, capital improvements, research, and unliquidated repairs to property.
Sources: Westlaw, PACER, district court clerks’ offices.



49
 See Fed. R. Civ. P. 23(b).

50
 These coupon settlements have become very controversial in recent years, and Congress discouraged them in the
Class Action Fairness Act of 2005 by tying attorney fees to the value of coupons that were ultimately redeemed by class
members as opposed to the value of coupons offered class members. See 28 U.S.C. § 1712.
                                                              Class Action Settlements and Fee Awards          825

expected in light of the focus on consumer cases in the debate over the anti-coupon
provision in the Class Action Fairness Act of 2005,51 consumer cases had the greatest
percentage of settlements providing for in-kind relief (30 percent). Civil rights cases had
the greatest percentage of settlements providing for injunctive or declaratory relief (75
percent), though almost half the civil rights cases also provided some cash relief (49
percent). The securities settlements were quite distinctive from the settlements in other
areas in their singular focus on cash relief: every single securities settlement provided cash
to the class and almost none provided in-kind, injunctive, or declaratory relief. This is but
one example of how the focus on securities settlements in the prior empirical scholarship
can lead to a distorted picture of class action litigation.


H. Settlement Money

Although securities settlements did not comprise the majority of federal class action settle-
ments in 2006 and 2007, they did comprise the majority of the money—indeed, the vast
majority of the money—involved in class action settlements. In Table 4, I report the total
amount of ascertainable value involved in the 2006 and 2007 settlements. This amount




Table 4: The Total Amount of Money Involved in Federal Class Action Settlements in
2006 and 2007
                                                    Total Ascertainable Monetary Value in Settlements
                                                        (and Percentage of Overall Annual Total)

                                                    2006                                          2007
Subject Matter                                    (n = 304)                                     (n = 384)

Securities                            $16,728                     76%                $8,038                  73%
Labor and employment                    $266.5                     1%                 $547.7                  5%
Consumer                                $517.3                     2%                 $732.8                  7%
Employee benefits                       $443.8                     2%                 $280.8                  3%
Civil rights                            $265.4                     1%                   $81.7                 1%
Debt collection                            $8.9                   <1%                    $5.7                <1%
Antitrust                              $1,079                      5%                 $660.5                  6%
Commercial                             $1,217                      6%                 $124.0                  1%
Other                                  $1,568                      7%                 $592.5                  5%
Total                                 $22,093                    100%               $11,063                 100%

Note: Dollar amounts are in millions. Includes all determinate payments in cash or cash equivalents (such as
marketable securities), including attorney fees and expenses, as well as any in-kind relief (such as coupons) or
injunctive relief that was valued by the district court.
Sources: Westlaw, PACER, district court clerks’ offices.




51
 See, e.g., 151 Cong. Rec. H723 (2005) (statement of Rep. Sensenbrenner) (arguing that consumers are “seeing all
of their gains go to attorneys and them just getting coupon settlements from the people who have allegedly done them
wrong”).
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includes all determinate52 payments in cash or cash equivalents (such as marketable secu-
rities), including attorney fees and expenses, as well as any in-kind relief (such as coupons)
or injunctive relief that was valued by the district court.53 I did not attempt to assign a value
to any relief that was not valued by the district court (even if it may have been valued by class
counsel). It should be noted that district courts did not often value in-kind or injunctive
relief—they did so only 18 percent of the time—and very little of Table 4—only $1.3 billion,
or 4 percent—is based on these valuations. It should also be noted that the amounts in
Table 4 reflect only what defendants agreed to pay; they do not reflect the amounts that
defendants actually paid after the claims administration process concluded. Prior empirical
research has found that, depending on how settlements are structured (e.g., whether they
awarded a fixed amount of money to each class member who eventually files a valid claim
or a pro rata amount of a fixed settlement to each class member), defendants can end up
paying much less than they agreed.54
        Table 4 shows that in both years, around three-quarters of all the money involved in
federal class action settlements came from securities cases. Thus, in this sense, the conven-
tional wisdom about the dominance of securities cases in class action litigation is correct.
Figure 3 is a graphical representation of the contribution each litigation area made to the
total number and total amount of money involved in the 2006–2007 settlements.
        Table 4 also shows that, in total, over $33 billion was approved in the 2006–2007
settlements. Over $22 billion was approved in 2006 and over $11 billion in 2007. It should
be emphasized again that the totals in Table 4 understate the amount of money defendants
agreed to pay in class action settlements in 2006 and 2007 because they exclude the
unascertainable value of those settlements. This understatement disproportionately affects
litigation areas, such as civil rights, where much of the relief is injunctive because, as I
noted, very little of such relief was valued by district courts. Nonetheless, these numbers are,
as far as I am aware, the first attempt to calculate how much money is involved in federal
class action settlements in a given year.
        The significant discrepancy between the two years is largely attributable to the 2006
securities settlement related to the collapse of Enron, which totaled $6.6 billion, as well as
to the fact that seven of the eight 2006–2007 settlements for more than $1 billion were
approved in 2006.55 Indeed, it is worth noting that the eight settlements for more than $1


52
 For example, I excluded awards of a fixed amount of money to each class member who eventually filed a valid claim
(as opposed to settlements that awarded a pro rata amount of a fixed settlement to each class member) if the total
amount of money set aside to pay the claims was not set forth in the settlement documents.

53
 In some cases, the district court valued the relief in the settlement over a range. In these cases, I used the middle
point in the range.

54
 See Hensler et al., supra note 7, at 427–30.

55
 See In re Enron Corp. Secs. Litig., MDL 1446 (S.D. Tex. May 24, 2006) ($6,600,000,000); In re Tyco Int’l Ltd.
Multidistrict Litig., MDL 02-1335 (D.N.H. Dec. 19, 2007) ($3,200,000,000); In re AOL Time Warner, Inc. Secs. &
“ERISA” Litig., MDL 1500 (S.D.N.Y. Apr. 6, 2006) ($2,500,000,000); In re: Diet Drugs Prods. Liab. Litig., MDL 1203
(E.D. Pa. May 24, 2006) ($1,275,000,000); In re Nortel Networks Corp. Secs. Litig. (Nortel I), No. 01-1855 (S.D.N.Y.
Dec. 26, 2006) ($1,142,780,000); In re Royal Ahold N.V. Secs. & ERISA Litig., 03-1539 (D. Md. Jun. 16, 2006)
                                                           Class Action Settlements and Fee Awards           827

Figure 3: The percentage of 2006–2007 federal class action settlements and settlement
money from each subject area.




Sources: Westlaw, PACER, district court clerks’ offices.



billion accounted for almost $18 billion of the $33 billion that changed hands over the
two-year period. That is, a mere 1 percent of the settlements comprised over 50 percent of
the value involved in federal class action settlements in 2006 and 2007. To give some sense
of the distribution of settlement size in the 2006–2007 data set, Table 5 sets forth the
number of settlements with an ascertainable value beyond fee, expense, and class-
representative incentive awards (605 out of the 688 settlements). Nearly two-thirds of all
settlements fell below $10 million.
       Given the disproportionate influence exerted by securities settlements on the total
amount of money involved in class actions, it is unsurprising that the average securities
settlement involved more money than the average settlement in most of the other subject
areas. These numbers are provided in Table 6, which includes, again, only the settlements



($1,100,000,000); Allapattah Servs. Inc. v. Exxon Corp., No. 91-0986 (S.D. Fla. Apr. 7, 2006) ($1,075,000,000); In
re Nortel Networks Corp. Secs. Litig. (Nortel II), No. 05-1659 (S.D.N.Y. Dec. 26, 2006) ($1,074,270,000).
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                   Table 5: The Distribution by Size of 2006–2007
                   Federal     Class   Action   Settlements  with
                   Ascertainable Value
                   Settlement Size (in Millions)                     Number of Settlements

                   [$0 to $1]                                              131
                                                                           (21.7%)
                   ($1 to $10]                                             261
                                                                           (43.1%)
                   ($10 to $50]                                            139
                                                                           (23.0%)
                   ($50 to $100]                                            33
                                                                            (5.45%)
                   ($100 to $500]                                           31
                                                                            (5.12%)
                   ($500 to $6,600]                                         10
                                                                            (1.65%)
                   Total                                                   605

                   Note: Includes only settlements with ascertainable value beyond merely
                   fee, expense, and class-representative incentive awards.
                   Sources: Westlaw, PACER, district court clerks’ offices.



                   Table 6: The Average and Median Settlement
                   Amounts in the 2006–2007 Federal Class Action
                   Settlements with Ascertainable Value to the Class
                   Subject Matter                               Average           Median

                   Securities (n = 257)                          $96.4             $8.0
                   Labor and employment (n = 88)                  $9.2             $1.8
                   Consumer (n = 65)                             $18.8             $2.9
                   Employee benefits (n = 52)                    $13.9             $5.3
                   Civil rights (n = 34)                          $9.7             $2.5
                   Debt collection (n = 40)                       $0.37            $0.088
                   Antitrust (n = 29)                            $60.0            $22.0
                   Commercial (n = 12)                          $111.7             $7.1
                   Other (n = 28)                                $76.6             $6.2
                   All (N = 605)                                 $54.7             $5.1

                   Note: Dollar amounts are in millions. Includes only settlements with
                   ascertainable value beyond merely fee, expense, and class-representative
                   incentive awards.
                   Sources: Westlaw, PACER, district court clerks’ offices.



with an ascertainable value beyond fee, expense, and class-representative incentive awards.
The average settlement over the entire two-year period for all types of cases was almost $55
million, but the median was only $5.1 million. (With the $6.6 billion Enron settlement
excluded, the average settlement for all ascertainable cases dropped to $43.8 million and,
for securities cases, dropped to $71.0 million.) The average settlements varied widely by
litigation area, with securities and commercial settlements at the high end of around $100
                                                            Class Action Settlements and Fee Awards              829

million, but the median settlements for nearly every area were bunched around a few
million dollars. It should be noted that the high average for commercial cases is largely due
to one settlement above $1 billion;56 when that settlement is removed, the average for
commercial cases was only $24.2 million.
       Table 6 permits comparison with the two prior empirical studies of class action
settlements that sought to include nonsecurities as well as securities cases in their purview.
The Eisenberg-Miller study through 2002, which included both common-fund and fee-
shifting cases, found that the mean class action settlement was $112 million and the median
was $12.9 million, both in 2006 dollars,57 more than double the average and median I found
for all settlements in 2006 and 2007. The Eisenberg-Miller update through 2008 included
only common-fund cases and found mean and median settlements in federal court of $115
million and $11.7 million (both again in 2006 dollars),58 respectively; this is still more than
double the average and median I found. This suggests that the methodology used by the
Eisenberg-Miller studies—looking at district court opinions that were published in Westlaw
or Lexis—oversampled larger class actions (because opinions approving larger class actions
are, presumably, more likely to be published than opinions approving smaller ones). It is
also possible that the exclusion of fee-shifting cases from their data through 2008 contrib-
uted to this skew, although, given that their data through 2002 included fee-shifting cases
and found an almost identical mean and median as their data through 2008, the primary
explanation for the much larger mean and median in their study through 2008 is probably
their reliance on published opinions. Over the same years examined by Professors Eisen-
berg and Miller, the Class Action Reports study found a smaller average settlement than I
did ($39.5 million in 2006 dollars), but a larger median ($8.48 million in 2006 dollars). It
is possible that the Class Action Reports methodology also oversampled larger class actions,
explaining its larger median, but that there are more “mega” class actions today than there
were before 2003, explaining its smaller mean.59
       It is interesting to ask how significant the $16 billion that was involved annually in
these 350 or so federal class action settlements is in the grand scheme of U.S. litigation.
Unfortunately, we do not know how much money is transferred every year in U.S. litigation.
The only studies of which I am aware that attempt even a partial answer to this question are
the estimates of how much money is transferred in the U.S. “tort” system every year by a
financial services consulting firm, Tillinghast-Towers Perrin.60 These studies are not directly



56
  See Allapattah Servs. Inc. v. Exxon Corp., No. 91-0986 (S.D. Fla. Apr. 7, 2006) (approving $1,075,000,000
settlement).

57
 See Eisenberg & Miller, supra note 15, at 47.

58
 See Eisenberg & Miller II, supra note 16, at 262.

59
 There were eight class action settlements during 2006 and 2007 of more than $1 billion. See note 55 supra.

60
  Some commentators have been critical of Tillinghast’s reports, typically on the ground that the reports overestimate
the cost of the tort system. See M. Martin Boyer, Three Insights from the Canadian D&O Insurance Market: Inertia,
Information and Insiders, 14 Conn. Ins. L.J. 75, 84 (2007); John Fabian Witt, Form and Substance in the Law of
830         Fitzpatrick

comparable to the class action settlement numbers because, again, the number of tort class
action settlements in 2006 and 2007 was very small. Nonetheless, as the tort system no doubt
constitutes a large percentage of the money transferred in all litigation, these studies
provide something of a point of reference to assess the significance of class action settle-
ments. In 2006 and 2007, Tillinghast-Towers Perrin estimated that the U.S. tort system
transferred $160 billion and $164 billion, respectively, to claimants and their lawyers.61 The
total amount of money involved in the 2006 and 2007 federal class action settlements
reported in Table 4 was, therefore, roughly 10 percent of the Tillinghast-Towers Perrin
estimate. This suggests that in merely 350 cases every year, federal class action settlements
involve the same amount of wealth as 10 percent of the entire U.S. tort system. It would
seem that this is a significant amount of money for so few cases.

IV. Attorney Fees in Federal Class Action Settlements,
2006 and 2007
A. Total Amount of Fees and Expenses

As I demonstrated in Section III, federal class action settlements involved a great deal of
money in 2006 and 2007, some $16 billion a year. A perennial concern with class action
litigation is whether class action lawyers are reaping an outsized portion of this money.62
The 2006–2007 federal class action data suggest that these concerns may be exaggerated.
Although class counsel were awarded some $5 billion in fees and expenses over this period,
as shown in Table 7, only 13 percent of the settlement amount in 2006 and 20 percent of
the amount in 2007 went to fee and expense awards.63 The 2006 percentage is lower than
the 2007 percentage in large part because the class action lawyers in the Enron securities
settlement received less than 10 percent of the $6.6 billion corpus. In any event, the
percentages in both 2006 and 2007 are far lower than the portions of settlements that
contingency-fee lawyers receive in individual litigation, which are usually at least 33 per-
cent.64 Lawyers received less than 33 percent of settlements in fees and expenses in virtually
every subject area in both years.


Counterinsurgency Damages, 41 Loy. L.A.L. Rev. 1455, 1475 n.135 (2008). If these criticisms are valid, then class
action settlements would appear even more significant as compared to the tort system.

61
  See Tillinghast-Towers Perrin, U.S. Tort Costs: 2008 Update 5 (2008). The report calculates $252 billion in total tort
“costs” in 2007 and $246.9 billion in 2006, id., but only 65 percent of those costs represent payments made to
claimants and their lawyers (the remainder represents insurance administration costs and legal costs to defendants).
See Tillinghast-Towers Perrin, U.S. Tort Costs: 2003 Update 17 (2003).

62
 See, e.g., Brian T. Fitzpatrick, Do Class Action Lawyers Make Too Little? 158 U. Pa. L. Rev. 2043, 2043–44 (2010).

63
  In some of the partial settlements, see note 29 supra, the district court awarded expenses for all the settlements at
once and it was unclear what portion of the expenses was attributable to which settlement. In these instances, I
assigned each settlement a pro rata portion of expenses. To the extent possible, all the fee and expense numbers in
this article exclude any interest known to be awarded by the courts.

64
 See, e.g., Herbert M. Kritzer, The Wages of Risk: The Returns of Contingency Fee Legal Practice, 47 DePaul L. Rev.
267, 284–86 (1998) (reporting results of a survey of Wisconsin lawyers).
                                                           Class Action Settlements and Fee Awards             831

Table 7: The Total Amount of Fees and Expenses Awarded to Class Action Lawyers in
Federal Class Action Settlements in 2006 and 2007
                                                                   Total Fees and Expenses Awarded in
                                                                 Settlements (and as Percentage of Total
                                                                Settlement Amounts) in Each Subject Area

                                                           2006                                         2007
Subject Matter                                           (n = 292)                                    (n = 363)

Securities                                            $1,899 (11%)                                 $1,467 (20%)
Labor and employment                                     $75.1 (28%)                                 $144.5 (26%)
Consumer                                                $126.4 (24%)                                  $65.3 (9%)
Employee benefits                                        $57.1 (13%)                                  $71.9 (26%)
Civil rights                                             $31.0 (12%)                                  $32.2 (39%)
Debt collection                                           $2.5 (28%)                                   $1.1 (19%)
Antitrust                                               $274.6 (26%)                                 $157.3 (24%)
Commercial                                              $347.3 (29%)                                  $18.2 (15%)
Other                                                   $119.3 (8%)                                  $103.3 (17%)
Total                                                 $2,932 (13%)                                 $2,063 (20%)

Note: Dollar amounts are in millions. Excludes settlements in which fees were not (or at least not yet) sought (22
settlements), settlements in which fees have not yet been awarded (two settlements), and settlements in which fees
could not be ascertained due to indefinite award amounts, missing documents, or nonpublic side agreements (nine
settlements).
Sources: Westlaw, PACER, district court clerks’ offices.



       It should be noted that, in some respects, the percentages in Table 7 overstate the
portion of settlements that were awarded to class action attorneys because, again, many of
these settlements involved indefinite cash relief or noncash relief that could not be valued.65
If the value of all this relief could have been included, then the percentages in Table 7
would have been even lower. On the other hand, as noted above, not all the money
defendants agree to pay in class action settlements is ultimately collected by the class.66 To
the extent leftover money is returned to the defendant, the percentages in Table 7 under-
state the portion class action lawyers received relative to their clients.



B. Method of Awarding Fees

District court judges have a great deal of discretion in how they set fee awards in class action
cases. Under Rule 23, federal judges are told only that the fees they award to class counsel




65
  Indeed, the large year-to-year variation in the percentages in labor, consumer, and employee benefits cases arose
because district courts made particularly large valuations of the equitable relief in a few settlements and used the
lodestar method to calculate the fees in these settlements (and thereby did not consider their large valuations in
calculating the fees).

66
 See Hensler et al., supra note 7, at 427–30.
832         Fitzpatrick

must be “reasonable.”67 Courts often exercise this discretion by choosing between two
approaches: the lodestar approach or the percentage-of-the-settlement approach.68 The
lodestar approach works much the way it does in individual litigation: the court calculates
the fee based on the number of hours class counsel actually worked on the case multiplied
by a reasonable hourly rate and a discretionary multiplier.69 The percentage-of-the-
settlement approach bases the fee on the size of the settlement rather than on the hours
class counsel actually worked: the district court picks a percentage of the settlement it
thinks is reasonable based on a number of factors, one of which is often the fee lodestar
(sometimes referred to as a “lodestar cross-check”).70 My 2006–2007 data set shows that the
percentage-of-the-settlement approach has become much more common than the lodestar
approach. In 69 percent of the settlements reported in Table 7, district court judges
employed the percentage-of-the-settlement method with or without the lodestar cross-
check. They employed the lodestar method in only 12 percent of settlements. In the other
20 percent of settlements, the court did not state the method it used or it used another
method altogether.71 The pure lodestar method was used most often in consumer (29
percent) and debt collection (45 percent) cases. These numbers are fairly consistent with
the Eisenberg-Miller data from 2003 to 2008. They found that the lodestar method was used
in only 9.6 percent of settlements.72 Their number is no doubt lower than the 12 percent
number found in my 2006–2007 data set because they excluded fee-shifting cases from their
study.

C. Variation in Fees Awarded

Not only do district courts often have discretion to choose between the lodestar method
and the percentage-of-the-settlement method, but each of these methods leaves district
courts with a great deal of discretion in how the method is ultimately applied. The courts

67
 Fed. R. Civ. P. 23(h).

68
  The discretion to pick between these methods is most pronounced in settlements where the underlying claim was
not found in a statute that would shift attorney fees to the defendant. See, e.g., In re Thirteen Appeals Arising out of
San Juan DuPont Plaza Hotel Fire Litig., 56 F.3d 295, 307 (1st Cir. 1995) (permitting either percentage or lodestar
method in common-fund cases); Goldberger v. Integrated Res. Inc., 209 F.3d 43, 50 (2d Cir. 2000) (same); Rawlings
v. Prudential-Bache Props., Inc., 9 F.3d 513, 516 (6th Cir. 1993) (same). By contrast, courts typically used the lodestar
approach in settlements arising from fee-shifting cases.

69
 See Eisenberg & Miller, supra note 15, at 31.

70
 Id. at 31–32.

71
  These numbers are based on the fee method described in the district court’s order awarding fees, unless the order
was silent, in which case the method, if any, described in class counsel’s motion for fees (if it could be obtained) was
used. If the court explicitly justified the fee award by reference to its percentage of the settlement, I counted it as the
percentage method. If the court explicitly justified the award by reference to a lodestar calculation, I counted it as the
lodestar method. If the court explicitly justified the award by reference to both, I counted it as the percentage method
with a lodestar cross-check. If the court calculated neither a percentage nor the fee lodestar in its order, then I
counted it as an “other” method.

72
 See Eisenberg & Miller II, supra note 16, at 267.
                                                              Class Action Settlements and Fee Awards                833

that use the percentage-of-the-settlement method usually rely on a multifactor test73 and,
like most multifactor tests, it can plausibly yield many results. It is true that in many of these
cases, judges examine the fee percentages that other courts have awarded to guide their
discretion.74 In addition, the Ninth Circuit has adopted a presumption that 25 percent is
the proper fee award percentage in class action cases.75 Moreover, in securities cases, some
courts presume that the proper fee award percentage is the one class counsel agreed to
when it was hired by the large shareholder that is now usually selected as the lead plaintiff
in such cases.76 Nonetheless, presumptions, of course, can be overcome and, as one court
has put it, “[t]here is no hard and fast rule mandating a certain percentage . . . which may
reasonably be awarded as a fee because the amount of any fee must be determined upon the
facts of each case.”77 The court added: “[i]ndividualization in the exercise of a discretionary
power [for fee awards] will alone retain equity as a living system and save it from sterility.”78
It is therefore not surprising that district courts awarded fees over a broad range when they
used the percentage-of-the-settlement method. Figure 4 is a graph of the distribution of fee
awards as a percentage of the settlement in the 444 cases where district courts used the
percentage method with or without a lodestar cross-check and the fee percentages were
ascertainable. These fee awards are exclusive of awards for expenses whenever the awards
could be separated by examining either the district court’s order or counsel’s motion for
fees and expenses (which was 96 percent of the time). The awards ranged from 3 percent
of the settlement to 47 percent of the settlement. The average award was 25.4 percent and
the median was 25 percent. Most fee awards were between 25 percent and 35 percent, with
almost no awards more than 35 percent. The Eisenberg-Miller study through 2008 found a
slightly lower mean (24 percent) but the same median (25 percent) among its federal court
settlements.79
        It should be noted that in 218 of these 444 settlements (49 percent), district courts
said they considered the lodestar calculation as a factor in assessing the reasonableness of
the fee percentages awarded. In 204 of these settlements, the lodestar multiplier resulting


73
  The Eleventh Circuit, for example, has identified a nonexclusive list of 15 factors that district courts might consider.
See Camden I Condo. Ass’n, Inc. v. Dunkle, 946 F.2d 768, 772 n.3, 775 (11th Cir. 1991). See also In re Tyco Int’l, Ltd.
Multidistrict Litig., 535 F. Supp. 2d 249, 265 (D.N.H. 2007) (five factors); Goldberger v. Integrated Res. Inc., 209 F.3d
43, 50 (2d Cir. 2000) (six factors); Gunter v. Ridgewood Energy Corp., 223 F.3d 190, 195 n.1 (3d Cir. 2000) (seven
factors); In re Royal Ahold N.V. Sec. & ERISA Litig., 461 F. Supp. 2d 383, 385 (D. Md. 2006) (13 factors); Brown v.
Phillips Petroleum Co., 838 F.2d 451, 454 (10th Cir. 1988) (12 factors); In re Baan Co. Sec. Litig., 288 F. Supp. 2d 14,
17 (D.D.C. 2003) (seven factors).

74
 See Eisenberg & Miller, supra note 15, at 32.

75
 See Staton v. Boeing Co., 327 F.3d 938, 968 (9th Cir. 2003).

76
 See, e.g., In re Cendant Corp. Litig., 264 F.3d 201, 282 (3d Cir. 2001).

77
 Camden I Condo. Ass’n, 946 F.2d at 774.

78
 Camden I Condo. Ass’n, 946 F.2d at 774 (alterations in original and internal quotation marks omitted).

79
 See Eisenberg & Miller II, supra note 16, at 259.
834        Fitzpatrick

Figure 4: The distribution of 2006–2007 federal class action fee awards using the
percentage-of-the-settlement method with or without lodestar cross-check.
                           .4        .3
              Fraction of settlements
                        .2 .1
                           0




                                          0   10           20            30            40         50
                                              Percentage of settlement awarded in fees


Sources: Westlaw, PACER, district court clerks’ offices.


from the fee award could be ascertained. The lodestar multiplier in these cases ranged from
0.07 to 10.3, with a mean of 1.65 and a median of 1.34. Although there is always the
possibility that class counsel are optimistic with their timesheets when they submit them for
lodestar consideration, these lodestar numbers—only one multiplier above 6.0, with the
bulk of the range not much above 1.0—strike me as fairly parsimonious for the risk that
goes into any piece of litigation and cast doubt on the notion that the percentage-of-the-
settlement method results in windfalls to class counsel.80
       Table 8 shows the mean and median fee percentages awarded in each litigation subject
area. The fee percentages did not appear to vary greatly across litigation subject areas, with
most mean and median awards between 25 percent and 30 percent. As I report later in this
section, however, after controlling for other variables, there were statistically significant
differences in the fee percentages awarded in some subject areas compared to others. The
mean and median percentages for securities cases were 24.7 percent and 25.0 percent,
respectively; for all nonsecurities cases, the mean and median were 26.1 percent and 26.0
percent, respectively. The Eisenberg-Miller study through 2008 found mean awards ranging
from 21–27 percent and medians from 19–25 percent,81 a bit lower than the ranges in my


80
  It should be emphasized, of course, that these 204 settlements may not be representative of the settlements where
the percentage-of-the-settlement method was used without the lodestar cross-check.

81
 See Eisenberg & Miller II, supra note 16, at 262.
                                                       Class Action Settlements and Fee Awards   835

                  Table 8: Fee Awards in 2006–2007 Federal Class
                  Action Settlements Using the Percentage-of-the-
                  Settlement Method With or Without Lodestar
                  Cross-Check
                                                 Percentage of Settlement Awarded as Fees

                  Subject Matter                      Mean                   Median

                  Securities                           24.7                   25.0
                    (n = 233)
                  Labor and employment                 28.0                   29.0
                    (n = 61)
                  Consumer                             23.5                   24.6
                    (n = 39)
                  Employee benefits                    26.0                   28.0
                    (n = 37)
                  Civil rights                         29.0                   30.3
                    (n = 20)
                  Debt collection                      24.2                   25.0
                    (n = 5)
                  Antitrust                            25.4                   25.0
                    (n = 23)
                  Commercial                           23.3                   25.0
                    (n = 7)
                  Other                                24.9                   26.0
                    (n = 19)
                  All                                  25.7                   25.0
                    (N = 444)

                  Sources: Westlaw, PACER, district court clerks’ offices.


2006–2007 data set, which again, may be because they oversampled larger settlements (as I
show below, district courts awarded smaller fee percentages in larger cases).
        In light of the fact that, as I noted above, the distribution of class action settlements
among the geographic circuits does not track their civil litigation dockets generally, it is
interesting to ask whether one reason for the pattern in class action cases is that circuits
oversubscribed with class actions award higher fee percentages. Although this question will
be taken up with more sophistication in the regression analysis below, it is worth describing
here the mean and median fee percentages in each of the circuits. Those data are pre-
sented in Table 9. Contrary to the hypothesis set forth in Section III, two of the circuits most
oversubscribed with class actions, the Second and the Ninth, were the only circuits in which
the mean fee awards were under 25 percent. As I explain below, these differences are
statistically significant and remain so after controlling for other variables.
        The lodestar method likewise permits district courts to exercise a great deal of leeway
through the application of the discretionary multiplier. Figure 5 shows the distribution of
lodestar multipliers in the 71 settlements in which district courts used the lodestar method
and the multiplier could be ascertained. The average multiplier was 0.98 and the median
was 0.92, which suggest that courts were not terribly prone to exercise their discretion to
deviate from the amount of money encompassed in the lodestar calculation. These 71
836      Fitzpatrick

                   Table 9: Fee Awards in 2006–2007 Federal Class
                   Action Settlements Using the Percentage-of-the-
                   Settlement Method With or Without Lodestar
                   Cross-Check
                                                  Percentage of Settlement Awarded as Fees

                   Circuit                          Mean                        Median

                   First                             27.0                         25.0
                      (n = 27)
                   Second                            23.8                         24.5
                      (n = 72)
                   Third                             25.4                         29.3
                      (n = 50)
                   Fourth                            25.2                         28.0
                      (n = 19)
                   Fifth                             26.4                         29.0
                      (n = 27)
                   Sixth                             26.1                         28.0
                      (n = 25)
                   Seventh                           27.4                         29.0
                      (n = 39)
                   Eighth                            26.1                         30.0
                      (n = 15)
                   Ninth                             23.9                         25.0
                      (n = 111)
                   Tenth                             25.3                         25.5
                      (n = 18)
                   Eleventh                          28.1                         30.0
                      (n = 35)
                   DC                                26.9                         26.0
                      (n = 6)

                   Sources: Westlaw, PACER, district court clerks’ offices.


settlements were heavily concentrated within the consumer (median multiplier 1.13) and
debt collection (0.66) subject areas. If cases in which district courts used the percentage-
of-the-settlement method with a lodestar cross-check are combined with the lodestar cases,
the average and median multipliers (in the 263 cases where the multipliers were ascertain-
able) were 1.45 and 1.19, respectively. Again—putting to one side the possibility that class
counsel are optimistic with their timesheets—these multipliers appear fairly modest in light
of the risk involved in any piece of litigation.


D. Factors Influencing Percentage Awards

Whether district courts are exercising their discretion over fee awards wisely is an important
public policy question given the amount of money at stake in class action settlements. As
shown above, district court judges awarded class action lawyers nearly $5 billion in fees and
expenses in 2006–2007. Based on the comparison to the tort system set forth in Section III,
it is not difficult to surmise that in the 350 or so settlements every year, district court judges
                                                             Class Action Settlements and Fee Awards   837

Figure 5: The distribution of lodestar multipliers in 2006–2007 federal class action fee
awards using the lodestar method.
                          .3
              Fraction of settlements
               .1         0      .2




                                        0   .5         1                1.5          2          2.5
                                                           Multiplier


Sources: Westlaw, PACER, district court clerks’ offices.



are awarding a significant portion of all the annual compensation received by contingency-
fee lawyers in the United States. Moreover, contingency fees are arguably the engine that
drives much of the noncriminal regulation in the United States; unlike many other nations,
we regulate largely through the ex post, decentralized device of litigation.82 To the extent
district courts could have exercised their discretion to award billions more or billions less
to class action lawyers, district courts have been delegated a great deal of leeway over a big
chunk of our regulatory horsepower. It is therefore worth examining how district courts
exercise their discretion over fees. This examination is particularly important in cases where
district courts use the percentage-of-the-settlement method to award fees: not only do such
cases comprise the vast majority of settlements, but they comprise the vast majority of the
money awarded as fees. As such, the analysis that follows will be confined to the 444
settlements where the district courts used the percentage-of-the-settlement method.
       As I noted, prior empirical studies have shown that fee percentages are strongly and
inversely related to the size of the settlement both in securities fraud and other cases. As
shown in Figure 6, the 2006–2007 data are consistent with prior studies. Regression analysis,
set forth in more detail below, confirms that after controlling for other variables, fee
percentage is strongly and inversely associated with settlement size among all cases, among
securities cases, and among all nonsecurities cases.


82
 See, e.g., Samuel Issacharoff, Regulating after the Fact, 56 DePaul L. Rev. 375, 377 (2007).
838        Fitzpatrick

Figure 6: Fee awards as a function of settlement size in 2006–2007 class action cases using
the percentage-of-the-settlement method with or without lodestar cross-check.
                              50
                              40
             Fee percentage
                              30
                              20
                              10
                              0




                                   10         15                      20           25
                                            Settlement amount (natural log)


Sources: Westlaw, PACER, district court clerks’ offices.



       As noted above, courts often look to fee percentages in other cases as one factor they
consider in deciding what percentage to award in a settlement at hand. In light of this
practice, and in light of the fact that the size of the settlement has such a strong relationship
to fee percentages, scholars have tried to help guide the practice by reporting the distri-
bution of fee percentages across different settlement sizes.83 In Table 10, I follow the
Eisenberg-Miller studies and attempt to contribute to this guidance by setting forth the
mean and median fee percentages, as well as the standard deviation, for each decile of
the 2006–2007 settlements in which courts used the percentage-of-the-settlement method
to award fees. The mean percentages ranged from over 28 percent in the first decile to less
than 19 percent in the last decile.
       It should be noted that the last decile in Table 10 covers an especially wide range of
settlements, those from $72.5 million to the Enron settlement of $6.6 billion. To give more
meaningful data to courts that must award fees in the largest settlements, Table 11 shows
the last decile broken into additional cut points. When both Tables 10 and 11 are examined
together, it appears that fee percentages tended to drift lower at a fairly slow pace until a
settlement size of $100 million was reached, at which point the fee percentages plunged
well below 20 percent, and by the time $500 million was reached, they plunged well below
15 percent, with most awards at that level under even 10 percent.


83
 See Eisenberg & Miller II, supra note 16, at 265.
                                      Class Action Settlements and Fee Awards   839

Table 10: Mean, Median, and Standard Deviation of
Fee Awards by Settlement Size in 2006–2007 Federal
Class Action Settlements Using the Percentage-
of-the-Settlement Method With or Without Lodestar
Cross-Check
Settlement Size
(in Millions)                 Mean             Median           SD

[$0 to $0.75]                28.8%             29.6%           6.1%
  (n = 45)
($0.75 to $1.75]             28.7%             30.0%           6.2%
  (n = 44)
($1.75 to $2.85]             26.5%             29.3%           7.9%
  (n = 45)
($2.85 to $4.45]             26.0%             27.5%           6.3%
  (n = 45)
($4.45 to $7.0]              27.4%             29.7%           5.1%
  (n = 44)
($7.0 to $10.0]              26.4%             28.0%           6.6%
  (n = 43)
($10.0 to $15.2]             24.8%             25.0%           6.4%
  (n = 45)
($15.2 to $30.0]             24.4%             25.0%           7.5%
  (n = 46)
($30.0 to $72.5]             22.3%             24.9%           8.4%
  (n = 42)
($72.5 to $6,600]            18.4%             19.0%           7.9%
  (n = 45)

Sources: Westlaw, PACER, district court clerks’ offices.



Table 11: Mean, Median, and Standard Deviation of
Fee Awards of the Largest 2006–2007 Federal Class
Action Settlements Using the Percentage-of-the-
Settlement Method With or Without Lodestar
Cross-Check
Settlement Size
(in Millions)                 Mean            Median           SD

($72.5 to $100]               23.7%            24.3%           5.3%
  (n = 12)
($100 to $250]                17.9%            16.9%           5.2%
  (n = 14)
($250 to $500]                17.8%            19.5%           7.9%
  (n = 8)
($500 to $1,000]              12.9%            12.9%           7.2%
  (n = 2)
($1,000 to $6,600]            13.7%             9.5%         11%
  (n = 9)

Sources: Westlaw, PACER, district court clerks’ offices.
840         Fitzpatrick

       Prior empirical studies have not examined whether fee awards are associated with
the political affiliation of the district court judges making the awards. This is surprising
because realist theories of judicial behavior would predict that political affiliation
would influence fee decisions.84 It is true that as a general matter, political affiliation may
influence district court judges to a lesser degree than it does appellate judges (who have
been the focus of most of the prior empirical studies of realist theories): district court
judges decide more routine cases and are subject to greater oversight on appeal than
appellate judges. On the other hand, class action settlements are a bit different in these
regards than many other decisions made by district court judges. To begin with, class
action settlements are almost never appealed, and when they are, the appeals are usually
settled before the appellate court hears the case.85 Thus, district courts have much less
reason to worry about the constraint of appellate review in fashioning fee awards. More-
over, one would think the potential for political affiliation to influence judicial decision
making is greatest when legal sources lead to indeterminate outcomes and when judicial
decisions touch on matters that are salient in national politics. (The more salient a
matter is, the more likely presidents will select judges with views on the matter and the
more likely those views will diverge between Republicans and Democrats.) Fee award
decisions would seem to satisfy both these criteria. The law of fee awards, as explained
above, is highly discretionary, and fee award decisions are wrapped up in highly salient
political issues such as tort reform and the relative power of plaintiffs’ lawyers and cor-
porations. I would expect to find that judges appointed by Democratic presidents
awarded higher fees in the 2006–2007 settlements than did judges appointed by Repub-
lican presidents.
       The data, however, do not appear to bear this out. Of the 444 fee awards using the
percentage-of-the-settlement approach, 52 percent were approved by Republican appoin-
tees, 45 percent were approved by Democratic appointees, and 4 percent were approved by
non-Article III judges (usually magistrate judges). The mean fee percentage approved
by Republican appointees (25.6 percent) was slightly greater than the mean approved by
Democratic appointees (24.9 percent). The medians (25 percent) were the same.
       To examine whether the realist hypothesis fared better after controlling for other
variables, I performed regression analysis of the fee percentage data for the 427 settlements
approved by Article III judges. I used ordinary least squares regression with the dependent
variable the percentage of the settlement that was awarded in fees.86 The independent



84
 See generally C.K. Rowland & Robert A. Carp, Politics and Judgment in Federal District Courts (1996). See also Max
M. Schanzenbach & Emerson H. Tiller, Reviewing the Sentencing Guidelines: Judicial Politics, Empirical Evidence,
and Reform, 75 U. Chi. L. Rev. 715, 724–25 (2008).

85
  See Brian T. Fitzpatrick, The End of Objector Blackmail? 62 Vand. L. Rev. 1623, 1640, 1634–38 (2009) (finding that
less than 10 percent of class action settlements approved by federal courts in 2006 were appealed by class members).

86
  Professors Eisenberg and Miller used a square root transformation of the fee percentages in some of their
regressions. I ran all the regressions using this transformation as well and it did not appreciably change the results.
I also ran the regressions using a natural log transformation of fee percentage and with the dependent variable
natural log of the fee amount (as opposed to the fee percentage). None of these models changed the results
                                                              Class Action Settlements and Fee Awards               841

variables were the natural log of the amount of the settlement, the natural log of the age of
the case (in days), indicator variables for whether the class was certified as a settlement class,
for litigation subject areas, and for circuits, as well as indicator variables for whether the
judge was appointed by a Republican or Democratic president and for the judge’s race and
gender.87
        The results for five regressions are in Table 12. In the first regression (Column 1),
only the settlement amount, case age, and judge’s political affiliation, gender, and race
were included as independent variables. In the second regression (Column 2), all the
independent variables were included. In the third regression (Column 3), only securities
cases were analyzed, and in the fourth regression (Column 4), only nonsecurities cases were
analyzed.
        In none of these regressions was the political affiliation of the district court judge
associated with fee percentage in a statistically significant manner.88 One possible explana-
tion for the lack of evidence for the realist hypothesis is that district court judges elevate
other preferences above their political and ideological ones. For example, district courts of
both political stripes may succumb to docket-clearing pressures and largely rubber stamp
whatever fee is requested by class counsel; after all, these requests are rarely challenged by
defendants. Moreover, if judges award class counsel whatever they request, class counsel will
not appeal and, given that, as noted above, class members rarely appeal settlements (and
when they do, often settle them before the appeal is heard),89 judges can thereby virtually
guarantee there will be no appellate review of their settlement decisions. Indeed, scholars
have found that in the vast majority of cases, the fees ultimately awarded by federal judges
are little different than those sought by class counsel.90
        Another explanation for the lack of evidence for the realist hypothesis is that my data
set includes both unpublished as well as published decisions. It is thought that realist
theories of judicial behavior lose force in unpublished judicial decisions. This is the case
because the kinds of questions for which realist theories would predict that judges have the
most room to let their ideologies run are questions for which the law is ambiguous; it is


appreciably. The regressions were also run with and without the 2006 Enron settlement because it was such an outlier
($6.6 billion); the case did not change the regression results appreciably. For every regression, the data and residuals
were inspected to confirm the standard assumptions of linearity, homoscedasticity, and the normal distribution of
errors.

87
 Prior studies of judicial behavior have found that the race and sex of the judge can be associated with his or her
decisions. See, e.g., Adam B. Cox & Thomas J. Miles, Judging the Voting Rights Act, 108 Colum. L. Rev. 1 (2008);
Donald R. Songer et al., A Reappraisal of Diversification in the Federal Courts: Gender Effects in the Courts of
Appeals, 56 J. Pol. 425 (1994).

88
  Although these coefficients are not reported in Table 8, the gender of the district court judge was never statistically
significant. The race of the judge was only occasionally significant.

89
 See Fitzpatrick, supra note 85, at 1640.

90
  See Eisenberg & Miller II, supra note 16, at 270 (finding that state and federal judges awarded the fees requested
by class counsel in 72.5 percent of settlements); Eisenberg, Miller & Perino, supra note 9, at 22 (“judges take a light
touch when it comes to reviewing fee requests”).
842           Fitzpatrick

Table 12: Regression of Fee Percentages in 2006–2007 Settlements Using Percentage-of-
the-Settlement Method With or Without Lodestar Cross-Check
                                                       Regression Coefficients (and Robust t Statistics)

Independent Variable                              1            2              3              4               5

Settlement amount (natural log)                 -1.77       -1.76         -1.76          -1.41          -1.78
                                               (-5.43)**   (-8.52)**     (-7.16)**      (-4.00)**      (-8.67)**
Age of case (natural log days)                   1.66        1.99          1.13           1.72           2.00
                                                (2.31)**    (2.71)**      (1.21)         (1.47)         (2.69)**
Judge’s political affiliation (1 = Democrat)    -0.630      -0.345         0.657         -1.43          -0.232
                                               (-0.83)     (-0.49)        (0.76)        (-1.20)        (-0.34)
Settlement class                                             0.150         0.873         -1.62           0.124
                                                            (0.19)        (0.84)        (-1.00)         (0.15)
1st Circuit                                                  3.30          4.41           0.031          0.579
                                                            (2.74)**      (3.32)**       (0.01)         (0.51)
2d Circuit                                                   0.513        -0.813          2.93          -2.23
                                                            (0.44)       (-0.61)         (1.14)        (-1.98)**
3d Circuit                                                   2.25          4.00          -1.11            —
                                                            (1.99)**      (3.85)**      (-0.50)
4th Circuit                                                  2.34          0.544          3.81               —
                                                            (1.22)        (0.19)         (1.35)
5th Circuit                                                  2.98          1.09           6.11              0.230
                                                            (1.90)*       (0.65)         (1.97)**          (0.15)
6th Circuit                                                  2.91          0.838          4.41               —
                                                            (2.28)**      (0.57)         (2.15)**
7th Circuit                                                  2.55          3.22           2.90          -0.227
                                                            (2.23)**      (2.36)**       (1.46)        (-0.20)
8th Circuit                                                  2.12         -0.759          3.73          -0.586
                                                            (0.97)       (-0.24)         (1.19)        (-0.28)
9th Circuit                                                   —             —              —            -2.73
                                                                                                       (-3.44)**
10th Circuit                                                 1.45         -0.254           3.16           —
                                                            (0.94)       (-0.13)          (1.29)
11th Circuit                                                 4.05          3.85            4.14              —
                                                            (3.44)**      (3.07)**        (1.88)*
DC Circuit                                                   2.76          2.60            2.41              —
                                                            (1.10)        (0.80)          (0.64)
Securities case                                               —                                              —

Labor and employment case                                    2.93                            —           2.85
                                                            (3.00)**                                    (2.94)**
Consumer case                                               -1.65                        -4.39          -1.62
                                                           (-0.88)                      (-2.20)**      (-0.88)
Employee benefits case                                      -0.306                       -4.23          -0.325
                                                           (-0.23)                      (-2.55)**      (-0.26)
Civil rights case                                            1.85                        -2.05           1.76
                                                            (0.99)                      (-0.97)         (0.95)
Debt collection case                                        -4.93                        -7.93          -5.04
                                                           (-1.71)*                     (-2.49)**      (-1.75)*
Antitrust case                                               3.06                         0.937          2.78
                                                            (2.11)**                     (0.47)         (1.98)**
                                                              Class Action Settlements and Fee Awards               843

Table 12 Continued
                                                              Regression Coefficients (and Robust t Statistics)

Independent Variable                                    1              2             3              4             5

Commercial case                                                    -0.028                       -2.65           0.178
                                                                  (-0.01)                      (-0.73)         (0.05)
Other case                                                         -0.340                       -3.73          -0.221
                                                                  (-0.17)                      (-1.65)        (-0.11)
Constant                                            42.1           37.2          43.0           38.2           40.1
                                                    (7.29)**       (6.08)**      (6.72)**       (4.14)**       (7.62)**
N                                                  427            427           232            195            427
R2                                                    .20            .26           .37            .26            .26
Root MSE                                             6.59           6.50          5.63           7.24           6.48

Note: **significant at the 5 percent level; *significant at the 10 percent level. Standard errors in Column 1 were
clustered by circuit. Indicator variables for race and gender were included in each regression but not reported.
Sources: Westlaw, PACER, district court clerks’ offices, Federal Judicial Center.



thought that these kinds of questions are more often answered in published opinions.91
Indeed, most of the studies finding an association between ideological beliefs and case
outcomes were based on data sets that included only published opinions.92 On the other
hand, there is a small but growing number of studies that examine unpublished opinions
as well, and some of these studies have shown that ideological effects persisted.93 Nonethe-
less, in light of the discretion that judges exercise with respect to fee award decisions, it hard
to characterize any decision in this area as “unambiguous.” Thus, even when unpublished,
I would have expected the fee award decisions to exhibit an association with ideological
beliefs. Thus, I am more persuaded by the explanation suggesting that judges are more
concerned with clearing their dockets or insulating their decisions from appeal in these
cases than with furthering their ideological beliefs.
        In all the regressions, the size of the settlement was strongly and inversely associated
with fee percentages. Whether the case was certified as a settlement class was not associated


91
 See, e.g., Ahmed E. Taha, Data and Selection Bias: A Case Study, 75 UMKC L. Rev. 171, 179 (2006).

92
 Id. at 178–79.

93
  See, e.g., David S. Law, Strategic Judicial Lawmaking: Ideology, Publication, and Asylum Law in the Ninth Circuit,
73 U. Cin. L. Rev. 817, 843 (2005); Deborah Jones Merritt & James J. Brudney, Stalking Secret Law: What Predicts
Publication in the United States Courts of Appeals, 54 Vand. L. Rev. 71, 109 (2001); Donald R. Songer, Criteria for
Publication of Opinions in the U.S. Courts of Appeals: Formal Rules Versus Empirical Reality, 73 Judicature 307, 312
(1990). At the trial court level, however, the studies of civil cases have found no ideological effects. See Laura Beth
Nielsen, Robert L. Nelson & Ryon Lancaster, Individual Justice or Collective Legal Mobilization? Employment
Discrimination Litigation in the Post Civil Rights United States, 7 J. Empirical Legal Stud. 175, 192–93 (2010); Denise
M. Keele et al., An Analysis of Ideological Effects in Published Versus Unpublished Judicial Opinions, 6 J. Empirical
Legal Stud. 213, 230 (2009); Orley Ashenfelter, Theodore Eisenberg & Stewart J. Schwab, Politics and the Judiciary:
The Influence of Judicial Background on Case Outcomes, 24 J. Legal Stud. 257, 276–77 (1995). With respect to
criminal cases, there is at least one study at the trial court level that has found ideological effects. See Schanzenbach
& Tiller, supra note 81, at 734.
844         Fitzpatrick

with fee percentages in any of the regressions. The age of the case at settlement was
associated with fee percentages in the first two regressions, and when the settlement class
variable was removed in regressions 3 and 4, the age variable became positively associated
with fee percentages in nonsecurities cases but remained insignificant in securities cases.
Professors Eisenberg and Miller likewise found that the age of the case at settlement was
positively associated with fee percentages in their 1993–2002 data set,94 and that settlement
classes were not associated with fee percentages in their 2003–2008 data set.95
        Although the structure of these regressions did not permit extensive comparisons of
fee awards across different litigation subject areas, fee percentages appeared to vary some-
what depending on the type of case that settled. Securities cases were used as the baseline
litigation subject area in the second and fifth regressions, permitting a comparison of fee
awards in each nonsecurities area with the awards in securities cases. These regressions
show that awards in a few areas, including labor/employment and antitrust, were more
lucrative than those in securities cases. In the fourth regression, which included only
nonsecurities cases, labor and employment cases were used as the baseline litigation subject
area, permitting comparison between fee percentages in that area and the other nonsecu-
rities areas. This regression shows that fee percentages in several areas, including consumer
and employee benefits cases, were lower than the percentages in labor and employment
cases.
        In the fifth regression (Column 5 of Table 12), I attempted to discern whether the
circuits identified in Section III as those with the most overrepresented (the First, Second,
Seventh, and Ninth) and underrepresented (the Fifth and Eighth) class action dockets
awarded attorney fees differently than the other circuits. That is, perhaps district court
judges in the First, Second, Seventh, and Ninth Circuits award greater percentages of class
action settlements as fees than do the other circuits, whereas district court judges in the
Fifth and Eighth Circuits award smaller percentages. To test this hypothesis, in the fifth
regression, I included indicator variables only for the six circuits with unusual dockets to
measure their fee awards against the other six circuits combined. The regression showed
statistically significant association with fee percentages for only two of the six unusual
circuits: the Second and Ninth Circuits. In both cases, however, the direction of the
association (i.e., the Second and Ninth Circuits awarded smaller fees than the baseline
circuits) was opposite the hypothesized direction.96




94
 See Eisenberg & Miller, supra note 15, at 61.

95
 See Eisenberg & Miller II, supra note 16, at 266.

96
  This relationship persisted when the regressions were rerun among the securities and nonsecurities cases separately.
I do not report these results, but, even though the First, Second, and Ninth Circuits were oversubscribed with
securities class action settlements and the Fifth, Sixth, and Eighth were undersubscribed, there was no association
between fee percentages and any of these unusual circuits except, again, the inverse association with the Second and
Ninth Circuits. In nonsecurities cases, even though the Seventh and Ninth Circuits were oversubscribed and the Fifth
and the Eighth undersubscribed, there was no association between fee percentages and any of these unusual circuits
except again for the inverse association with the Ninth Circuit.
                                                           Class Action Settlements and Fee Awards             845

       The lack of the expected association with the unusual circuits might be explained by
the fact that class action lawyers forum shop along dimensions other than their potential fee
awards; they might, for example, put more emphasis on favorable class-certification law
because there can be no fee award if the class is not certified. As noted above, it might also
be the case that class action lawyers are unable to engage in forum shopping at all because
defendants are able to transfer venue to the district in which they are headquartered or
another district with a significant connection to the litigation.
       It is unclear why the Second and Ninth Circuits were associated with lower fee awards
despite their heavy class action dockets. Indeed, it should be noted that the Ninth Circuit
was the baseline circuit in the second, third, and fourth regressions and, in all these
regressions, district courts in the Ninth Circuit awarded smaller fees than courts in many of
the other circuits. The lower fees in the Ninth Circuit may be attributable to the fact that
it has adopted a presumption that the proper fee to be awarded in a class action settlement
is 25 percent of the settlement.97 This presumption may make it more difficult for district
court judges to award larger fee percentages. The lower awards in the Second Circuit are
more difficult to explain, but it should be noted that the difference between the Second
Circuit and the baseline circuits went away when the fifth regression was rerun with only
nonsecurities cases.98 This suggests that the awards in the Second Circuit may be lower only
in securities cases. In any event, it should be noted that the lower fee awards from the
Second and Ninth Circuits contrast with the findings in the Eisenberg-Miller studies, which
found no intercircuit differences in fee awards in common-fund cases in their data through
2008.99



V. Conclusion
This article has attempted to fill some of the gaps in our knowledge about class action
litigation by reporting the results of an empirical study that attempted to collect all class
action settlements approved by federal judges in 2006 and 2007. District court judges
approved 688 class action settlements over this two-year period, involving more than $33
billion. Of this $33 billion, nearly $5 billion was awarded to class action lawyers, or about 15
percent of the total. District courts typically awarded fees using the highly discretionary
percentage-of-the-settlement method, and fee awards varied over a wide range under this
method, with a mean and median around 25 percent. Fee awards using this method were
strongly and inversely associated with the size of the settlement. Fee percentages were
positively associated with the age of the case at settlement. Fee percentages were not
associated with whether the class action was certified as a settlement class or with the


97
 See note 75 supra. It should be noted that none of the results from the previous regressions were affected when the
Ninth Circuit settlements were excluded from the data.

98
 The Ninth Circuit’s differences persisted.

99
 See Eisenberg & Miller II, supra note 16, at 260.
846      Fitzpatrick

political affiliation of the judge who made the award. Finally, there appeared to be some
variation in fee percentages depending on subject matter of the litigation and the geo-
graphic circuit in which the district court was located. Fee percentages in securities cases
were lower than the percentages in some but not all of the other litigation areas, and district
courts in the Ninth Circuit and in the Second Circuit (in securities cases) awarded lower fee
percentages than district courts in several other circuits. The lower awards in the Ninth
Circuit may be attributable to the fact that it is the only circuit that has adopted a
presumptive fee percentage of 25 percent.
EXHIBIT 3
Documents reviewed:

   •   Class Action Complaint (document 1, filed 11/30/18)

   •   Amended Class Action Complaint (document 28, filed 2/19/19)

   •   Memorandum Opinion and Order (document 54, filed 3/17/20)

   •   Answer and Defenses of Defendant TD Bank, N.A. to Amended Complaint (document 58,

       filed 4/14/20)

   •   Memorandum in Support of Plaintiffs’ Unopposed Motion for Preliminary Approval of

       Class Settlement, Preliminary Certification of Settlement Class, and Approval of Notice

       Plan (filed herewith)

   •   Settlement Agreement and Release (filed herewith) (“Settlement Agreement”)
EXHIBIT 4
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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF SOUTH CAROLINA
                                  GREENVILLE DIVISION

                                  CASE NO. 6:15-MN-02613-BHH
                                         ALL CASES


   IN RE: TD BANK, N.A. DEBIT CARD
OVERDRAFT FEE LITIGATION

    MDL No. 2613


                      DECLARATION OF BRIAN T. FITZPATRICK
    IN SUPPORT OF PLAINTIFFS’ AND CLASS COUNSEL’S REQUEST FOR SERVICE
AWARDS, ATTORNEYS’ FEES AND EXPENSES, AND CLASS ACTION ADMINISTRATION
                               EXPENSES

     1.       I am a Professor of Law at Vanderbilt University in Nashville, Tennessee. I

joined the Vanderbilt law faculty in 2007, after serving as the John M. Olin Fellow at New York

University School of Law in 2005 and 2006. I graduated from the University of Notre Dame in

1997 and Harvard Law School in 2000. After law school, I served as a law clerk to The

Honorable Diarmuid O’Scannlain on the United States Court of Appeals for the Ninth Circuit

and to The Honorable Antonin Scalia on the United States Supreme Court. I also practiced law

for several years in Washington, D.C., at Sidley Austin LLP. My C.V. is attached as Exhibit 1.

     2.       My teaching and research have focused on class action litigation. I teach the Civil

Procedure, Federal Courts, and Complex Litigation courses at Vanderbilt. In addition, I have

published a number of articles on class action litigation in such journals as the University of

Pennsylvania Law Review, the Journal of Empirical Legal Studies, the Vanderbilt Law Review,

the University of Arizona Law Review, and the NYU Journal of Law & Business. My work has

been cited by numerous courts, scholars, and popular media outlets, such as the New York

Times, USA Today, and the Wall Street Journal. I am also frequently invited to speak at

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symposia and other events about class action litigation, such as the ABA National Institutes on

Class Actions in 2011, 2015, 2016, 2017, and 2019, and the ABA Annual Meeting in 2012.

Since 2010, I have also served on the Executive Committee of the Litigation Practice Group of

the Federalist Society for Law & Public Policy Studies.          In 2015, I was elected to the

membership of the American Law Institute.

        3.     In December 2010, I published an article in the Journal of Empirical Legal

Studies entitled An Empirical Study of Class Action Settlements and Their Fee Awards, 7 J.

Empirical L. Stud. 811 (2010) (hereinafter “Empirical Study”). This article is still the most

comprehensive examination of federal class action settlements and attorneys’ fees that has ever

been published. Unlike other studies, which have been confined to securities cases or have been

based on samples of cases that were not intended to be representative of the whole (such as

settlements approved in published opinions), my study attempted to examine every class action

settlement approved by a federal court over a two-year period, 2006-2007. See id. at 812-13. As

such, not only is my study an unbiased sample of settlements, but the number of settlements

included in my study is several times the number of settlements per year that has been identified

in any other empirical study: over this two-year period, I found 688 settlements. See id. at 817. I

presented the findings of my study at the Conference on Empirical Legal Studies at the

University of Southern California School of Law in 2009, the Meeting of the Midwestern Law

and Economics Association at the University of Notre Dame in 2009, and before the faculties of

many law schools in 2009 and 2010. This study has been relied upon by a number of courts,

scholars, and testifying experts.1


    1
      See, e.g., Silverman v. Motorola Solutions, Inc., 739 F.3d 956, 958 (7th Cir. 2013) (relying
on article to assess fees); James v. China Grill Mgmt., Inc., 2019 WL 1915298, at *2 (S.D.N.Y.
Apr. 30, 2019) (same); Grice v. Pepsi Beverages Co., 363 F. Supp. 3d 401, 407 (S.D.N.Y. 2019)
(same); Alaska Elec. Pension Fund v. Bank of Am. Corp., 2018 WL 6250657, at *2 (S.D.N.Y.
                                                   2
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     4.        In order to assist the court with the fee award in this case, class counsel asked me

to conduct a similar empirical study focused on class action cases against banks for illegal

overdraft practices. To conduct this study, I followed a methodology like the one I used in my

article described above. First, I started with a list of overdraft cases that I was already aware of

from previous work as an expert in such cases. Second, I supplemented this list with overdraft

cases known to class counsel. Third, my research assistant and I supplemented these lists with

broad searches of 1) federal dockets on BloombergLaw (using the search “final approval” &

(“overdraft fee” or “overdraft fees”)); 2) trial court orders on Westlaw (((grant! /s final /s

approval) (“overdraft fee” or “overdraft fees”)) & TI(Bank “Credit Union”)); 3) Google


Nov. 29, 2018) (same); Rodman v. Safeway Inc., 2018 WL 4030558, at *5 (N.D. Cal. Aug. 23,
2018) (same); Little v. Washington Metro. Area Transit Auth., 313 F. Supp. 3d 27, 38 (D.D.C.
2018) (same); Hillson v. Kelly Servs. Inc., 2017 WL 3446596, at *4 (E.D. Mich. Aug. 11, 2017)
(same); Good v. W. Virginia-Am. Water Co., 2017 WL 2884535, at *23, *27 (S.D.W. Va. July 6,
2017) (same); McGreevy v. Life Alert Emergency Response, Inc., 258 F. Supp. 3d 380, 385
(S.D.N.Y. 2017) (same); Brown v. Rita's Water Ice Franchise Co. LLC, 2017 WL 1021025, at *9
(E.D. Pa. Mar. 16, 2017) (same); In re Credit Default Swaps Antitrust Litig., 2016 WL 1629349,
at *17 (S.D.N.Y. Apr. 24, 2016) (same); Gehrich v. Chase Bank USA, N.A., 316 F.R.D. 215, 236
(N.D. Ill. 2016); Ramah Navajo Chapter v. Jewell, 167 F. Supp. 3d 1217, 1246 (D.N.M. 2016);
In re: Cathode Ray Tube (Crt) Antitrust Litig., 2016 WL 721680, at *42 (N.D. Cal. Jan. 28,
2016) (same); In re Pool Products Distribution Mkt. Antitrust Litig., 2015 WL 4528880, at *19-
20 (E.D. La. July 27, 2015) (same); Craftwood Lumber Co. v. Interline Brands, Inc., 2015 WL
2147679, at *2-4 (N.D. Ill. May 6, 2015) (same); Craftwood Lumber Co. v. Interline Brands,
Inc., 2015 WL 1399367, at *3-5 (N.D. Ill. Mar. 23, 2015) (same); In re Capital One Tel.
Consumer Prot. Act Litig., 2015 WL 605203, at *12 (N.D. Ill. Feb. 12, 2015) (same); In re
Neurontin Marketing and Sales Practices Litigation, 2014 WL 5810625, at *3 (D. Mass. Nov.
10, 2014) (same); Tennille v. W. Union Co., 2014 WL 5394624, at *4 (D. Colo. Oct. 15, 2014)
(same); In re Colgate-Palmolive Co. ERISA Litig., 36 F.Supp.3d 344, 349-51 (S.D.N.Y. 2014)
(same); In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, 991 F.
Supp. 2d 437, 444-46 & n.8 (E.D.N.Y. 2014) (same); In re Federal National Mortgage
Association Securities, Derivative, and “ERISA” Litigation, 4 F. Supp. 3d 94, 111-12 (D.D.C.
2013) (same); In re Vioxx Products Liability Litigation, 2013 WL 5295707, at *3-4 (E.D. La.
Sep. 18, 2013) (same); In re Black Farmers Discrimination Litigation, 953 F. Supp. 2d 82, 98-99
(D.D.C. 2013) (same); In re Southeastern Milk Antitrust Litigation, 2013 WL 2155387, at *2
(E.D. Tenn. May 17, 2013) (same); In re Heartland Payment Sys., Inc. Customer Data Sec.
Breach Litig., 851 F. Supp. 2d 1040, 1081 (S.D. Tex. 2012) (same); Pavlik v. FDIC, 2011 WL
5184445, at *4 (N.D. Ill. Nov. 1, 2011) (same); In re Black Farmers Discrimination Litig., 856
F. Supp. 2d 1, 40 (D.D.C. 2011) (same); In re AT & T Mobility Wireless Data Servs. Sales Tax
Litig., 792 F. Supp. 2d 1028, 1033 (N.D. Ill. 2011) (same); In re MetLife Demutualization Litig.,
689 F. Supp. 2d 297, 359 (E.D.N.Y. 2010) (same).
                                                   3
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(“overdraft” & “class action” & (“bank” or “credit union”) and “approved”); and 4)

topclassactions.com (“overdraft” “settlement” “final approval”). After examining all the “hits”

from these searches, I generated a list of 69 fee awards in overdraft cases in both state and

federal court since August 2010. I could not locate the court orders confirming the fee awards in

two cases2 and three of the awards were based on the “lodestar” method. 3 Because almost all the

courts used the percentage method and the two methods are so different they are usually

analyzed separately, see Fitzpatrick, Empirical Study, supra, at 832-39, my focus in this

declaration will be on the 64 fee awards where I could locate the court orders and the court did

not use the lodestar method.

        5.     Table 1 appended to this declaration lists information about each of these 64 fee

awards. The average fee was 30.5% with a standard deviation of 3.9%. The median was 30%,

as was the mode (the most common fee percentage), with 19 awards equal to 30%.

        6.     In order to visualize this data, in Figure 1, below, I graph the distribution of fee

awards in the 64 cases. The Figure shows what fraction of settlements (y-axis) fall into each

five-point fee percentage range (x-axis). The bar that the 30% fee request in this case falls

into—30% (inclusive) to 35%—is depicted with a red arrow. As the Figure shows, this is by far

the most populous range, with three fourths of all settlements falling within this range.




    2
      These two cases are Casey v. Orange County Credit Union, No. 30-2013-00658493
(Orange Cty Sup. Ct. (CA), May 5, 2015) and Gregory v. Cent. Pacific Bank, No. 11-1-0457-03
(Honolulu Cty Cir. Ct. (HI), Oct. 27, 2011).
    3
      The three lodestar awards were in Gunter v. United Federal Credit Union, No. 15-00483
(D. Nev., June 4, 2019); Hernandez v. Point Loma Credit Union, No. 37-2013-00053519 (S.D.
County Sup. Ct. (CA), Sep. 7, 2017); Gutierrez v. Wells Fargo Bank, No. 07-05923 (N.D. Cal.,
Aug. 1, 2010).
                                                   4
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           Figure 1: Overdraft Fee Awards in Federal and State Court since 2010




     7.        Another way to visualize the data is to plot each fee award as its own data point.

In Figures 2 and 3, below, I do this, first plotting each fee award against the natural log of the

size of the settlement in which the fee was awarded (I use the log transformation because the

wide disparity in settlement amounts can otherwise obscure relationships between variables, see

Fitzpatrick, Empirical Study, at 838), and second plotting each fee award against the date on

which the award was entered. In each case, a red dot depicts the fee request here.




                                                  5
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        Figure 2: Overdraft Fee Awards in Federal and State Court since 2010
                               versus Settlement Size




                                       6
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               Figure 3: Overdraft Fee Awards in Federal and State Court since 2010
                                          versus Date




     8.        Empirical scholars have often found that settlement size has a negative inverse

effect on fee awards. See Fitzpatrick, Empirical Study, supra, at 837-38. In the 64 cases in the

overdraft data, however, there is no statistically significant relationship between fee award and

settlement size (p = .106). Figure 2 shows this graphically: fee awards do not appear to vary as

settlement sizes increase.

     9.        Although, of course, every case has its own unique facts and circumstances, in my

opinion, the data shows that a fee award equal to 30% in an overdraft case would be well within

the mainstream of fee awards.

     10.       It should also be noted that a 30% fee award would be lower than the contingent

fees usually agreed to in the market for individual litigation. It is well known that standard

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contingency-fee percentages in individual litigation are at least 33%. See, e.g., Herbert M.

Kritzer, The Wages of Risk: The Returns of Contingency Fee Legal Practice, 47 DePaul L. Rev.

267, 286 (1998) (reporting the results of a survey of Wisconsin lawyers, which found that “[o]f

the cases with a [fee calculated as a] fixed percentage [of the recovery], a contingency fee of

33% was by far the most common, accounting for 92% of those cases”). Although the Kritzer

study is based largely on unsophisticated clients, studies of sophisticated clients show much the

same thing. The best of these studies comes from patent litigation. See David L. Schwartz, The

Rise of Contingent Fee Representation in Patent Litigation, 64 Ala. L. Rev. 335 (2012).

Professor Schwartz reports that, “[o]f the agreements using a flat fee reviewed for this Article,

the mean rate was 38.6% of the recovery” and, “[o]f the agreements reviewed for this Article that

used graduated rates, the average percentage upon filing was 28% and the average through

appeal was 40.2%.” Id. at 360.

     11.       My compensation for this declaration was a flat fee in no way contingent on the

success of class counsel’s fee petition.

        Executed on this 13th day of November, 2019, at New York, NY.

                                                  By:      /s/ Brian T. Fitzpatrick
                                                           Brian T. Fitzpatrick




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            Table 1: Overdraft Fee Awards in Federal and State Court since 2010
Case Name            Docket            Court         Final     Settlement Amount   Fee %    Notes
                     Number                        approval
Robinson v. First    17-1-0167-        Hawaii       8/8/19       $4,125,000.00     33.00%
Hawaiian Bank        01                Circuit
                                        Court
Sewell v. Wescom     BC586014        Los Angeles   5/31/19       $3,243,365.00     33.33%     1
Credit Union                           County
                                      Superior
                                     Court (CA)
Lloyd v. Navy        17-01280         S.D.Cal.     5/28/19       $24,500,000.00    25.00%
Federal Credit
Union
Pantelyat v. Bank    16-08964         S.D.N.Y.     1/31/19       $22,000,000.00    25.00%
of America, N.A.
Bowens v. Mazuma     15-00758         W.D. Mo.     11/5/18       $1,360,000.00     33.33%
Federal Credit
Union



Behrens v.           17-00101        W.D. Wisc.    9/11/18       $1,324,562.02      21.2%   1, 2, 3
Landmark Credit
Union

Farrell v. Bank of   16-00492         S.D.Cal.     8/31/18       $66,600,000.00    21.77%     1
America, N.A.

Wodja v.             16-2-12148-       Pierce      6/22/18       $2,900,000.00     33.33%
Washington State     4                 County
Employees Credit                      Superior
Union                                Court (WA)
Fernandez v.         RIC1610873       Riverside    4/23/18       $1,390,000.00     33.33%
Altura Credit                          County
Union                                 Superior
                                     Court (CA)
Morton v.            11-135-IV        Davidson     4/18/18       $1,500,000.00     35.00%
GreenBank                              County
                                      Chancery
                                     Court (TN)
Fry v. Midflorida    15-02743         M.D. Fl.     2/23/18       $3,525,000.00     31.90%     2
Credit Union




Santiago v.          34-2015-        Sacramento    2/22/18         $697,000        33.33%
Meriwest Credit      00183730          County
Union                                 Superior
                                     Court (CA)
Ketner v. State      15-03594          D. Md.      1/11/18       $1,700,000.00     33.33%
Employees Credit
Union of Maryland


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Glaske v.            9983             Wayne      1/11/18        $2,215,000.00   33.33%
Independent Bank                     County
Corporation                           Circuit
                                    Court (MI)
Ramirez v. Baxter    16-03765        N.D. Ca.    12/22/17       $1,175,069.00   25.00%    1
Credit Union

Lynch v. San Diego   37-2015-       San Diego    11/22/17       $2,200,000.00   33.33%
County Credit        00008551        County
Union                                Superior
                                    Court (CA)
Towner v. 1st        15-01162        S.D. Ill.   11/9/17         $500,000.00    33.33%
Midamerica Credit
Union
Hernandez v. Logix   BC628495      Los Angeles   10/20/17       $1,123,118.00   33.33%    1
Federal Credit                       County
Union                               Superior
                                   Court (CA)
Lane v. Campus       16-00037       M.D. La.     8/21/17        $200,000.00     33.33%
Federal Credit
Union
Gray v. Los          BC625500      Los Angeles   6/26/17        $350,000.00     33.33%
Angeles Federal                       County
Credit Union                         Superior
                                    Court (CA)
Moralez v. Kern      15-100538     Kern County   6/13/17        $775,000.00     33.33%
Schools Federal                      Superior
Credit Union                        Court (CA)
Jacobs v.            11-00090      Lake County    6/2/17       $15,975,000.00   40.00%    1
Huntington                           Court of
Bancshares                           Common
Incorporated.                       Pleas (OH)

Hawkins v. First     CT-004085-      Shelby      4/20/17       $16,750,000.00   35.00%
Tennessee Bank,      11              County
N.A.                                 Circuit
                                    Court (TN)
In re: HSBC Bank     650562/11      New York     10/17/16      $32,000,000.00   25.00%
USA, N.A.                           Supreme
                                      Court
Bodnar v. Bank of    14-03224        E.D. Pa.     8/4/16       $27,500,000.00   33.33%
America

Swift v.             10-00090        N.D.Fla.    7/15/16       $24,000,000.00   35.00%
BancorpSouth
Bank
Kelly v. Old         82C01-1012    Vanderburg    6/13/16        $4,750,000.00   40.00%
National Bank                       h Circuit
                                   Court (IN)
Manwaring v.         34-2013-      Sacramento    12/9/15        $5,000,000.00   33.33%
Golden 1 Credit      00142667        County
Union                               Superior
                                   Court (CA)
Steen v. Capital     09-02036       S.D.Fla.     5/22/15       $31,767,200.00   31.00%


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One
Childs v. Synovus     09-02036       S.D.Fla.     4/2/15        $3,750,000.00    30.00%
Bank
Given v.              09-02036       S.D.Fla.    3/13/15        $4,000,000.00    30.00%
Manufacturers and
Traders Trust
Company a/k/a
M&T Bank
Anrendas v.           11-06462       N.D. Ca.    11/14/14       $5,000,000.00    25.00%
Citibank Inc.
Simmons v.            09-02036       S.D.Fla.    6/10/14       $14,580,000.00    30.00%
Comerica Bank
Lunsford v.           12-00103       N.D. Ga.    5/19/14        $7,750,000.00    33.00%
Woodforest
National Bank
Mello v.              09-02036       S.D.Fla.     4/1/14        $3,680,000.00    28.26%
Susquehanna Bank
Jenkins v.            12-00380      S.D. Miss.   3/25/14        $4,000,000.00    33.33%
Trustmark National
Bank
Barlow v. Zions       11-00929       D. Utah     2/14/14       $10,000,000.00    33.33%
First National
Bank
Simpson v. Citizens   12-10267       E.D. Mi.    1/31/14        $2,000,000.00    33.00%
Bank
Waters v. U.S.        09-02036       S.D.Fla.     1/6/14       $55,000,000.00    30.00%
Bank, N.A.
Johnson v.            12-01405       M.D. Pa.    11/25/13       $2,500,000.00    33.00%
Community Bank,
N.A.
Anderson v.           09-02036       S.D.Fla.     8/7/13       $11,500,000.00    30.00%
Compass Bank
Blahut v. Harris      09-02036       S.D.Fla.     8/5/13        $9,400,000.00    30.00%
Bank, N.A.

Casayuran v. PNC      09-02036       S.D.Fla.     8/5/13       $90,000,000.00    30.00%
Bank, N.A.

Harris v.             09-02036       S.D.Fla.     8/2/13       $13,000,000.00    30.00%
Associated Bank,
N.A.
Wolfgeher v.          09-02036       S.D.Fla.     8/2/13       $23,200,000.00    30.00%    2
Commerce Bank,
N.A.

McKinley v. Great     09-02036       S.D.Fla.     8/2/13        $2,200,000.00    30.00%
Western Bank

Eno v. M&I            09-02036       S.D.Fla.     8/2/13        $4,000,000.00    30.00%
Marshall & Ilsley
Bank
Mosser v. TD          09-02036       S.D.Fla.    3/18/13       $62,000,000.00    30.00%
Duval v. Citizens     09-02036       S.D.Fla.    3/12/13       $137,500,000.00   30.00%


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 Lopez v. JPMorgan    09-02036         S.D.Fla.     12/19/12      $162,000,000.00   30.00%    2
 Chase Bank, N.A.



 Orallo v. Bank of    09-02036         S.D.Fla.     12/18/12      $18,000,000.00    30.00%
 the West
 LaCour v. Whitney    11-01896         M.D. Fl.     10/23/12       $6,800,000.00    25.00%
 Bank
 Larsen v. Union      09-02036         S.D.Fla.     10/4/12       $35,000,000.00    30.00%
 Case v. Bank of OK   09-02036         S.D.Fla.     9/13/12       $19,000,000.00    30.00%
 Molina v. Intrust    10-3686         Sedgewick     5/21/12        $2,759,641.00    33.33%
 Bank                                County Dist.
                                       Ct. (KS)

 Casto v. City        10-1089          Cir. Ct.     5/10/12        $6,866,000.00    30.00%    4
 National Bank                        Kanawha
                                       County
                                       (WV)
 Sachar v.            09-02036         S.D.Fla.     4/26/12        $2,500,000.00    27.50%
 IBERIABANK



 Tualava v. Bank of   11-1-0337-      Honolulu      2/14/12        $9,000,000.00    25.00%
 Hawaii               02               County
                                       Circuit
                                      Court (HI)
 Hawthorne v.         11-06700         N.D.Ca.      12/29/11       $2,900,000.00    25.00%
 Umpqua Bank
 Trombley v.          10-00232         D. D.C.      12/1/11       $13,800,000.00    22.00%
 National City Bank
 Tornes v. Bank of    09-02036         S.D.Fla.     11/22/11      $410,000,000.00   30.00%
 America, N.A.

 Trevino v.              1003690        Marin       11/16/11       $2,000,000.00    25.00%
 Westamerica                           County
                                        (CA)
 Schulte v. Fifth     09-06655         N.D. Ill.    7/29/11        $9,500,000.00    33.33%
 Third Bank

 Mathena v.           10-01448        D. Conn.      3/28/11        $2,800,000.00    25.00%
 Webster Bank NA
Notes: some of the fee awards were inclusive of expenses and some were exclusive
1 = fee calculated from settlement amount that included debt forgiveness
2 = fee calculated from settlement amount that included future savings from changed practices
3 = fee calculated from settlement amount that excluded the fee award itself
4 = settlement amount included debt forgiveness but fee calculated from cash portion alone




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